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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF TEXAS
                         SAN ANTONIO DIVISION


LA UNIÓN DEL PUEBLO ENTERO, et al.,

                 Plaintiffs,

           v.                                  Civil Action No. 5:21-cv-844 (XR)
                                               (consolidated cases)
GREGORY W. ABBOTT, et al.,

                 Defendants.




         UNITED STATES’ STATEMENT OF UNCONTESTED FACTS
         IN SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT
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       Pursuant to Paragraph 36 of the Court’s Fact Sheet, the United States submits this

Statement of Uncontested Facts in support of its Motion for Summary Judgment. Documents

produced in discovery are identified by the production number of the first page of the document.

The following terms and definitions apply unless an individual paragraph specifies otherwise:

   1. “Senate Bill 1” or “SB 1” refers to the Election Integrity and Protection Act of 2021,

       2021 Tex. Sess. Law Serv. 2d Called Sess. ch. 1.

   2. “Secretary of State” or “SOS” refers to the individual officeholder and all employees and

       agents thereof, including but not limited to the employees and agents of the Elections

       Division of the Office of the Secretary of State.

   3. “DPS” refers to the Texas Department of Public Safety.

   4. “DPS number” refers to the number of an individual’s Texas driver’s license, election

       identification certificate, or personal identification card issued by DPS.

   5. “SSN4” refers to the last four digits of a Social Security number.

   6. “TEAM” refers to the Texas Election Administration Management system, which

       includes the official statewide voter registration database maintained by the Texas

       Secretary of State.

   7. “ABBM” refers to an application for a ballot by mail.

   8. “FPCA” refers to a Federal Postcard Application, a ballot request form available only to

       members of the military, military family members, and overseas citizens.

   9. “Overseas citizens” refers to United States citizens residing outside the United States.

   10. “EVBB” refers to a county early voting ballot board. See Tex. Elec. Code §§ 87.001-

       .006.




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11. “SVC” refers to a county signature verification committee. See Tex. Elec. Code

   § 87.027.




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   I.         Background Facts Regarding Senate Bill 1

1. The Texas legislature passed The Election Integrity and Protection Act of 2021, S.B. 1, 87th

   Legis., 2d Special Session (Tex. 2021) (SB 1) on August 31, 2021. SB 1 Enrolled at 76 (Ex.

   1), https://perma.cc/WK65-HT5T.

2. Texas Governor Greg Abbott signed SB 1 into law on September 7, 2021. SB 1 Enrolled at

   76 (Ex. 1), https://perma.cc/WK65-HT5T.

3. SB 1 is recorded as Chapter 1 of the 2021 Texas Session Laws, Second Called Session, and

   its provisions are codified throughout the Texas Election Code, Texas Government Code, and

   Texas Code of Criminal Procedure. 2021 Tex. Sess. Law Serv. 2d Called Sess. ch. 1.

4. SB 1 went into effect on December 2, 2021. SB 1 Enrolled § 10.04 (Ex. 1),

   https://perma.cc/WK65-HT5T; Tex. Sec. of State, Election Advisory No. 2022-08, at 1 (Jan.

   28, 2022) (STATE019849) (Ex. 2), https://perma.cc/WR2R-EH3B.

   II.        Facts Regarding Texas Election Law and Procedures

         A.    Facts Regarding Voter Qualifications

5. Texas law defines a “qualified voter” as an individual who is 18 years of age or older, is a

   United States citizen, is a resident of the state of Texas, has not been adjudged mentally

   incompetent, has not been convicted of a felony (unless they have completed their term of

   sentence or received a pardon), and is registered to vote. Tex. Elec. Code § 11.002(a); see

   also Tex. Const. art. VI, § 2(a).

6. SB 1 did not alter voter qualifications in Texas. SB 1 Enrolled (Ex. 1),

   https://perma.cc/WK65-HT5T.

7. To register to vote, a Texas resident must complete a voter registration application that

   demonstrates the resident’s qualifications to vote under each criterion identified in Section



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   11.002(a) of the Texas Election Code. Tex. Elec. Code § 13.002(a)-(c); see also Tex. Const.

   art. VI, § 2(a); Tex. Elec. Code § 13.001(a).

8. The SOS prepares Texas’s official voter registration form, which qualified individuals may

   use to register to vote. Texas Voter Registration Application (undated) (STATE040495) (Ex.

   3), https://perma.cc/S2TZ-NTT6.

9. The official Texas voter registration form prepared by the SOS lists “Qualifications” for

   registration. Texas Voter Registration Application (undated) (STATE040495) (Ex. 3),

   https://perma.cc/S2TZ-NTT6.

10. The official Texas voter registration form prepared by the SOS contains spaces for applicants

   to place a DPS number and a SSN4. The form directs, “If no Texas Driver’s License or

   Personal Identification, give last 4 digits of your Social Security Number.” Texas Voter

   Registration Application (undated) (STATE040495) (Ex. 3), https://perma.cc/S2TZ-NTT6.

11. Texas first required voter registration applications to include a DPS number, a SSN4, or a

   statement that the applicant has not been issued a DPS number or SSN4 on January 1, 2004.

   Tex. H.B. 1549, 2003 Tex. Sess. Law Serv. ch. 1315, § 1 (2003); Tex. Elec. Code

   § 13.002(c)(8)(A); State Defs.’ Objs. & Resps. to U.S. 1st Reqs. for Admis. at 8 (RFA No.

   14) (Ex. 4).

12. Individuals obtaining or renewing a Texas driver’s license or personal identification card

   from DPS can register to vote or update voter registration information during that process.

   Registration while obtaining or renewing a Texas driver’s license or personal identification

   card incorporates the same qualifications as registration using the official Texas voter

   registration form. SOS 30(b)(6) Apr. 26, 2022 Dep. 21:7-22:4 (Ex. 82); see also Tex. Dep’t

   of Pub. Safety, Texas Driver License or Identification Card Application (Adult) (DL-14A)



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   (June 2022) (Ex. 21), https://perma.cc/3Z4H-W4SW; Stringer v. Whitley, 942 F.3d 715, 719

   (5th Cir. 2019).

13. In Texas, an approved voter registration application becomes effective on the 30th day after

   the date the application was submitted to the registrar or the date the applicant becomes 18

   years of age, whichever is later. (If the 30th day before the date of an election is a Saturday,

   Sunday, or legal holiday, an application is timely if it is submitted on or before the next

   regular business day.) A registration is effective for purposes of early voting if it will be

   effective on Election Day. Tex. Elec. Code § 13.143(a)-(b), (e).

14. Neither possession of nor ability to recite a DPS number or SSN4 is a qualification to vote

   under Texas law. Tex. Elec. Code § 11.002; Tex. Const. art. VI, § 2(a); Texas Voter

   Registration Application (undated) (STATE040495) (Ex. 3), https://perma.cc/S2TZ-NTT6.

15. Keith Ingram, then serving as Director of Elections at the Office of the Texas Secretary of

   State, acknowledged under oath that individual eligibility criteria “have nothing to do with” a

   DPS number or SSN4. Ingram Apr. 28, 2022 Dep Tr. 86:10-11 (Ex. 79).

16. Keith Ingram is no longer the Director of Elections at the Office of the Texas Secretary of

   State. He now serves as a project manager within the Elections Division. Ingram Mar. 28,

   2023 Dep Tr. 13:15-15:4, 182:8-13 (Ex. 80).

       B.    Facts Regarding Qualifications to Vote by Mail

17. Texas law authorizes the following categories of qualified voters to vote by mail: those who

   expect to be absent during the entire voting period (including the period for in-person early

   voting), those who expect to give birth within three weeks of Election Day, those with a

   disability, those who will be 65 years of age or older on Election Day, those confined in jail,




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   those who are involuntarily committed, and certified participants in Texas’s address

   confidentiality program. Tex. Elec. Code §§ 82.001-.004, .007-.008.

18. SB 1 did not amend the categories of voters eligible to vote early by mail. SB 1 Enrolled

   (Ex. 1), https://perma.cc/WK65-HT5T.

19. The categories of voters eligible to vote by mail in Texas tend to include voters for whom

   appearing in person at the polls would be difficult or impossible. SOS 30(b)(6) Mar. 28,

   2023 Dep. 85:10-86:7 (Ex. 81).

20. Neither possession of nor ability to recite a DPS number or SSN4 is a qualification to vote by

   mail under Texas law. See Tex. Elec. Code §§ 82.001-.004, .007-.008; Tex. Sec. of State,

   Application for a Ballot by Mail (Dec. 9, 2021) (STATE031879) (Ex. 14),

   https://perma.cc/NU2Z-URBA.

       C.    Facts Regarding Application to Vote by Mail

21. An individual who is qualified and registered to vote under Texas law, and eligible to vote by

   mail, must request a mail ballot by submitting an application that is “in writing and signed by

   the applicant.” Tex. Elec. Code § 84.001.

22. SB 1 did not change the basic requirement to submit an application that is “in writing and

   signed by the applicant” to request a mail ballot. SB 1 Enrolled (Ex. 1),

   https://perma.cc/WK65-HT5T; Tex. Elec. Code § 84.001.

23. The SOS designs the official ABBM and distributes it to counties. SOS 30(b)(6) Apr. 26,

   2022 Dep. 56:11-57:7 (Ex. 82); Tex. Sec. of State, Election Advisory No. 2022-08, at 2 (Jan.

   28, 2022) (STATE019849) (Ex. 2), https://perma.cc/WR2R-EH3B; Tex. Sec. of State,

   Application for a Ballot by Mail (Dec. 9, 2021) (STATE031879) (Ex. 14),

   https://perma.cc/NU2Z-URBA.



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24. The official ABBM requires the voter to sign or mark (absent inability to do so) below the

   following text: “I certify that the information given in this application is true, and I

   understand that giving false information in this application is a crime.” Tex. Sec. of State,

   Application for a Ballot by Mail (Dec. 9, 2021) (STATE031879) (Ex. 14),

   https://perma.cc/NU2Z-URBA; see also Tex. Elec. Code §§ 82.001-.004, 82.007-.008

   (qualifications to vote by mail). A person commits a state jail felony by knowingly providing

   false information on an ABBM or by knowingly submitting an ABBM without the

   knowledge or authorization of the voter. Tex. Elec. Code § 84.0041(a).

25. An “applicant is not required to use an official application form” to request a mail ballot.

   Tex. Elec. Code § 84.001(c). An application not made on the official form must still contain

   the required elements designated by Section 84.002 of the Texas Election Code. SOS

   30(b)(6) Apr. 26, 2022 Dep. 56:11-57:7 (Ex. 82).

26. SB 1 did not amend provisions of the Texas Election Code specifically concerning informal

   ABBMs. SB 1 Enrolled (Ex. 1), https://perma.cc/WK65-HT5.

27. Members of the military, military family members, and overseas citizens entitled to vote by

   mail under the Uniformed and Overseas Citizens Absentee Voting Act (UOCAVA), 52

   U.S.C. §§ 20301-11, who use a Federal Post Card Application (FPCA) to apply for a ballot

   by mail must provide the same minimum information on a FPCA as Texas law requires other

   voters qualified to vote by mail to state on an ABBM. Tex. Elec. Code § 101.052(e); Federal

   Voting Assistance Program, 2022-23 Voting Assistance Guide at 371 (Oct. 2021) (Ex. 9),

   https://perma.cc/C7EH-LGFS; Federal Post Card Application (Sept. 2021) (Ex. 10),

   https://perma.cc/65YK-9PRM.




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28. The Federal Post Card Application (FPCA) requires a voter to sign under the following

   statement: “The information on this form is true, accurate, and complete to the best of my

   knowledge. I understand that a material misstatement of fact in completion of this document

   may constitute grounds for conviction of perjury.” Federal Post Card Application (Sept.

   2021) (Ex. 10), https://perma.cc/65YK-9PRM.

29. Voters 65 years of age or older and disabled voters may request a mail ballot for all elections

   held in a calendar year on a single mail ballot application. All other voters eligible to vote by

   mail must submit a separate mail ballot application for each primary or general election,

   although a voter need not submit a separate mail ballot application for any resulting runoff

   election. Tex. Elec. Code §§ 82.003, 84.001(e), 86.0015.

30. SB 1 did not amend eligibility criteria for an annual ballot by mail. SB 1 Enrolled (Ex. 1),

   https://perma.cc/WK65-HT5T.

31. Before SB 1 was enacted, a voter requesting a mail ballot was required to submit the

   following information on a mail ballot application:

       a. the name and the address at which the voter is registered to vote;

       b. an indication of the ground of eligibility for early voting;

       c. an indication of each election for which the applicant is applying for a ballot;

       d. for an application on the ground of absence from a voter’s county of residence, the

           address where the ballot is to be mailed;

       e. for an application on the ground of age or disability for a ballot to be mailed to an

           address at which the applicant is living that differs from the address at which the

           applicant is registered to vote, the address of a hospital, nursing home or other long-




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           term care facility, or retirement center or of a person related to the applicant within a

           certain degree of consanguinity;

       f. for an application on the ground of confinement in jail, the address of the jail or of a

           person related to the applicant within a certain degree of consanguinity

       g. for an application on the ground of involuntary civil commitment, the address of the

           facility operated by or under contract with the Texas Civil Commitment Office or of a

           person related to the applicant within a certain degree of consanguinity.

   Tex. Elec. Code § 84.002; SOS 30(b)(6) Apr. 26, 2022 Dep. 56:23-57:7 (Ex. 82).

32. Section 5.02 of SB 1 amended Section 84.002 of the Texas Election Code to add a

   requirement that mail ballot applications include: “the following information: (A) the number

   of the applicant’s driver’s license, election identification certificate, or personal identification

   card issued by the Department of Public Safety; (B) if the applicant has not been issued a

   number described by Paragraph (A), the last four digits of the applicant’s social security

   number; or (C) a statement by the applicant that the applicant has not been issued a number

   described by Paragraph (A) or (B).” Tex. Elec. Code § 84.002(a)(1-a); Tex. Sec. of State,

   Election Advisory No. 2022-08, at 1 (Jan. 28, 2022) (STATE019849) (Ex. 2),

   https://perma.cc/WR2R-EH3B; SB 1 Enrolled § 5.02 (pp. 33-34) (Ex. 1),

   https://perma.cc/WK65-HT5T.

33. SB 1 did not remove any existing requirements for a valid ABBM. SB 1 Enrolled § 5.02 (pp.

   33-34) (Ex. 1), https://perma.cc/WK65-HT5T.

34. Section 5.07 of SB 1 amended Section 86.001 of the Texas Election Code to establish that

   early voting clerks “shall reject” a mail ballot application that includes a DPS number or

   SSN4 that “does not identify the same voter identified on the applicant’s application for voter



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   registration.” SB 1 Enrolled § 5.07 (p. 38) (Ex. 1), https://perma.cc/WK65-HT5T; Tex. Elec.

   Code § 86.001.

35. Early voting clerks must also reject a mail ballot application that does not contain a DPS

   number or SSN4 and does not indicate that the voter has not been issued either number. Tex.

   Sec. of State, Election Advisory No. 2022-08, at 1, 3 (Jan. 28, 2022) (STATE019849) (Ex. 2),

   https://perma.cc/WR2R-EH3B; Tex. Sec. of State, FAQs on Applications for Ballot by Mail

   (ABBMs), at 3 (PPT 5) (Jan. 18, 2022) (STATE040586) (Ex. 5), https://perma.cc/A8Y6-

   YLQH.

36. If a mail ballot application is rejected because the DPS number or SSN4 is missing or “does

   not identify the same voter identified on the applicant’s application for voter registration,” no

   mail ballot may be issued to the voter based on that mail ballot application. Tex. Elec. Code

   § 86.001(f); Tex. Sec. of State, Election Advisory No. 2022-08, at 1, 3 (Jan. 28, 2022)

   (STATE019849) (Ex. 2), https://perma.cc/WR2R-EH3B.

37. In order for a qualified voter whose mail ballot application has been rejected to vote by mail,

   SB 1 requires that voter to take additional action before the deadline for receipt of a mail

   ballot application for the relevant election. That voter must submit a DPS number or SSN4

   that matches voter registration records through an online portal designed for tracking ballots

   or must submit a new mail ballot application including a DPS number or SSN4 that matches

   voter registration records. Tex. Elec. Code § 86.001(f); Tex. Sec. of State, Election Advisory

   No. 2022-08, at 1-2, 5 (Jan. 28, 2022) (STATE019849) (Ex. 2), https://perma.cc/WR2R-

   EH3B; Tex. Sec. of State, FAQs on Applications for Ballot by Mail (ABBMs), at 5 (PPT 9)

   (Jan. 18, 2022) (STATE040586) (Ex. 5), https://perma.cc/A8Y6-YLQH.




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38. A mail ballot application must be received by county election officials by no later than the

   11th day before Election Day. Tex. Elec. Code §§ 84.007(c)-(d); 86.0015(b-1); Tex. Sec. of

   State, Election Advisory No. 2022-08, at 5 (Jan. 28, 2022) (STATE019849) (Ex. 2),

   https://perma.cc/WR2R-EH3B.

39. If a timely mail ballot application is rejected for failure to provide a DPS number or SSN4

   that matches voter registration records, county election officials must receive curative

   information regarding the rejected application through the online ballot tracker,

   supplementation or correction of voter registration records using the Texas.gov “Voter Name

   and Address Changes” application or a voter registration application, or a new mail ballot

   application that includes a DPS number or SSN4 that matches voter registration records by

   no later than the 11th day before Election Day in order for the voter’s mail ballot application

   to be accepted and for the voter to receive a ballot by mail for that election. Tex. Elec. Code

   § 84.007(c); Tex. Sec. of State, Election Advisory No. 2022-08, at 3-5 (Jan. 28, 2022)

   (STATE019849) (Ex. 2), https://perma.cc/WR2R-EH3B; Tex. Sec. of State, FAQs with the

   Elections Division, at 4 (PPT 7-8) (Feb. 7, 2022) (STATE046453) (Ex. 6),

   https://perma.cc/LC4P-2WCJ; Notice of Rejected Application for Ballot by Mail – Required

   Personal Identification Number Is Not Associated with Your Voter Record (Jan. 2022)

   (STATE031645) (Ex. 20), https://perma.cc/2UDX-X75X; Ingram Mar. 28, 2023 Dep. 97:20-

   98:6 (Ex. 80); El Paso Cnty. 30(b)(6) Apr. 18, 2023 Dep. 128:8-129:3 (Ex. 96).

40. Texas’s online ballot tracker can be used to correct an omitted DPS number or SSN4 on a

   mail ballot application or a DPS number or SSN4 that does not match the numbers contained

   in voter registration records. Tex. Sec. of State, FAQs on Applications for Ballot by Mail

   (ABBMs), at 5 (PPT 9) (Jan. 18, 2022) (STATE040586) (Ex. 5), https://perma.cc/A8Y6-



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   YLQH; Tex. Sec. of State, FAQs with the Elections Division 2/24/2022, at 5 (Feb. 24, 2022)

   (STATE019510) (Ex. 7), https://perma.cc/CU27-J2QA.

41. The online ballot tracker cannot be used to supplement or correct information in voter

   registration records, such as a missing DPS number or SSN4 or transposed digits. SOS

   30(b)(6) Mar. 28, 2023 Dep. 36:21-23, 37:16-21 (Ex. 81); Tex. Sec. of State, FAQs with the

   Elections Division 2/24/2022, at 5 (Feb. 24, 2022) (STATE019510) (Ex. 7),

   https://perma.cc/CU27-J2QA.

42. If an early voting clerk determines that a mail ballot application does not “fully comply with

   the applicable requirements,” the early voting clerk must provide the applicant with written

   notice identifying the defect and explaining how it can be corrected. Tex. Elec. Code

   § 86.008; Tex. Sec. of State, Election Advisory No. 2022-08, at 2 (Jan. 28, 2022)

   (STATE019849) (Ex. 2), https://perma.cc/WR2R-EH3B.

43. Under a provision of the Texas Election Code that predates SB 1, if a mail ballot application

   “does not include the applicant’s correct voter registration number or county election precinct

   of residence, the clerk shall enter the appropriate information on the application before

   providing a ballot to the applicant.” Tex. Elec. Code § 86.001.

44. Under a provision of the Texas Election Code that predates SB 1, “[i]f an applicant [for a

   ballot by mail] provides a date of birth, driver’s license number, or social security number on

   the applicant’s application for an early voting ballot to be voted by mail that is different from

   or in addition to the information maintained by the voter registrar . . . , the early voting clerk

   shall notify the voter registrar. The voter registrar shall update the voter’s record with the

   information provided by the applicant.” Tex. Elec. Code § 84.014.




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45. The SOS has directed counties not to apply Section § 84.014 of the Texas Election Code to

   add or update a DPS number or SSN4 in voter registration records. SOS 30(b)(6) Apr. 26,

   2022 Dep. 100:8-24 (Ex. 82).

46. If an early voting clerk rejects an ABBM on or before the 18th day before Election Day, the

   early voting clerk must also mail the applicant a new mail ballot application. Tex. Elec.

   Code § 86.008; Tex. Sec. of State, Election Advisory No. 2022-08, at 2 (Jan. 28, 2022)

   (STATE019849) (Ex. 2), https://perma.cc/WR2R-EH3B.

       D.    Facts Regarding Return and Evaluation of Mail Ballots

47. For voters other than members of the military, military family members, and overseas

   citizens voting under the Uniformed and Overseas Citizens Absentee Voting Act

   (UOCAVA), 52 U.S.C. § 20301-11, a marked mail ballot must be “returned to the early

   voting clerk in the official carrier envelope.” Tex. Elec. Code § 86.006; Tex. Sec. of State,

   Carrier Envelope for Early Voting Ballot (July 2022) (STATE137682) (Ex. 16),

   https://perma.cc/32SR-YXKA.

48. Members of the military, military family members, and overseas citizens entitled to vote by

   mail under the Uniformed and Overseas Citizens Absentee Voting Act (UOCAVA), 52

   U.S.C. § 20301-11, must either return the ballot in an official carrier envelope, or return a

   marked ballot along with a “signature sheet” (a form used by members of the military,

   military family members, and overseas citizens to comply with the carrier envelope

   requirements, see ¶ 84.c) that meets the requirements of a completed carrier envelope. Tex.

   Elec. Code § 101.107(b); Official Election Signature Sheet for an FPCA Voter (July 2022)

   (STATE113735) (Ex. 8) (July 2022), https://perma.cc/K4YJ-L4Z8; Tex. Sec. of State, Early




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   Voting Ballot Board and Signature Verification Committee: Handbook for Election Judges

   and Clerks 2022 at 14 (undated) (STATE001325) (Ex. 56), https://perma.cc/S95U-G7CB.

49. The SOS instructs county election officials to direct members of the military, military family

   members, and overseas citizens to return ballots by mail. Tex. Sec. of State, Election

   Advisory No. 2022-02, at 5 (Jan. 10, 2022) (STATE040059) (Ex 58),

   https://perma.cc/M7FK-DC67. Only military voters on active duty and their spouses or

   dependents stationed in hostile fire or imminent danger pay areas or designated combat zones

   may return an early voting ballot and signature sheet by telephonic facsimile transmission

   (fax). Tex. Sec. of State, Election Advisory No. 2022-03, at 2 (Jan. 10, 2022)

   (STATE034974) (Ex. 59), https://perma.cc/4DFM-CV6B.

50. Section 5.08 of SB 1 amended Section 86.002 of the Texas Election Code to require a carrier

   envelope to include a space for the voter to enter the following information: “(1) the number

   of the voter’s driver’s license, election identification certificate, or personal identification

   card issued by the Department of Public Safety; (2) if the voter has not been issued a number

   described by Subdivision (1), the last four digits of the voter’s social security number; or (3)

   a statement by the applicant that the applicant has not been issued a number described by

   Subdivision (1) or (2).” SB 1 Enrolled § 5.08 (Ex. 1); Tex. Elec. Code § 86.002(g).

51. Section 5.13 of SB 1 amended Section 87.041 of the Texas Election Code to require that a

   mail ballot “may be accepted only if” the DPS number or SSN4 provided on the carrier

   envelope “identifies the same voter identified on the voter’s application for voter

   registration.” SB 1 Enrolled § 5.13 (Ex. 1), https://perma.cc/WK65-HT5T; Tex. Elec. Code

   § 87.041.




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52. The SOS prescribes the contents and form of the official carrier envelope that counties and

   voters must use, and a county may not change the carrier envelope without SOS permission.

   Tex. Elec. Code § 86.013; SOS 30(b)(6) Apr. 26, 2022 Dep. 57:17-58:3 (Ex. 82); Adkins

   July 20, 2022 Dep. 34:17-35:15 (Ex. 83).

53. Under a provision of the Texas Election Code that predates SB 1, upon completing a mail

   ballot, a Texas “voter must place it in the official ballot envelope and then seal the ballot

   envelope, place the ballot envelope in the official carrier envelope and then seal the carrier

   envelope, and sign the certificate on the carrier envelope.” Tex. Elec. Code § 86.005.

54. The carrier envelope displays a voter’s name and requires a voter to sign a certification that

   the enclosed ballot expresses “my wishes.” Tex. Sec. of State, Carrier Envelope for Early

   Voting Ballot (July 2022) (STATE137682) (Ex. 16), https://perma.cc/32SR-YXKA. A

   person commits a criminal offense by knowingly or intentionally voting or attempting to vote

   a ballot belonging to another person, or by impersonating another person. Tex. Elec. Code

   § 64.012(a)(3).

55. The signature sheet requires a voter to provide the voter’s name and address and to sign a

   certification that the voter is “returning my marked ballot” and that the ballot expresses “my

   wishes.” Tex. Sec. of State, Official Election Signature Sheet for an FPCA Voter (July 2022)

   (STATE113735) (Ex. 8) (July 2022), https://perma.cc/K4YJ-L4Z8. A person commits a

   criminal offense by knowingly or intentionally voting or attempting to vote a ballot

   belonging to another person, or by impersonating another person. Tex. Elec. Code

   § 64.012(a)(3).

56. Whether to accept a mail ballot and count it toward the vote totals in an election is

   determined in each county by an early voting ballot board (EVBB). Tex. Elec. Code



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   §§ 87.001, 87.0241; Tex. Sec. of State, Early Voting Ballot Board and Signature Verification

   Committee: Handbook for Election Judges and Clerks 2022 at 14-18 (undated)

   (STATE001325) (Ex. 56), https://perma.cc/S95U-G7CB.

57. A county may also establish a signature verification committee (SVC) to determine whether

   certain defects exist on mail ballots, including a missing or incorrect DPS number or SSN4

   required by SB 1 on a carrier envelope. Tex. Elec. Code §§ 87.027, 87.0271; Tex. Sec. of

   State, Early Voting Ballot Board and Signature Verification Committee: Handbook for

   Election Judges and Clerks 2022, at 2, 5 (undated) (STATE001325) (Ex. 56),

   https://perma.cc/S95U-G7CB.

58. Under a provision of the Texas Election Code that predates SB 1, if an early voting clerk

   finds that the carrier envelope does not comply with legal requirements, the clerk may either

   return the carrier envelope to the voter so that the voter can correct the defect before the

   ballot receipt deadline or advise the voter that the voter may appear in person to correct the

   defect or cancel the voter’s mail ballot application, which would allow the voter to cast an in-

   person ballot on Election Day. Tex. Elec. Code § 86.011.

59. The SOS has directed counties that the early voting clerk may remove the secrecy flap on a

   carrier envelope and evaluate compliance with the SB 1 DPS number or SSN4 requirement in

   accordance with Section 86.011 of the Texas Election Code. Tex. Sec. of State, FAQs with

   the Elections Division, at 6 (PPT 11-12) (Feb. 7, 2022) (STATE046453) (Ex. 6),

   https://perma.cc/LC4P-2WCJ.

60. Whether to accept the ballot is ultimately determined by the early voting ballot board

   (EVBB), except that if a signature verification committee (SVC) is appointed, the SVC’s




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   determination is binding if it has determined that a mail ballot application and carrier

   envelope were signed by the same person. Tex. Elec. Code § 87.027(j).

61. An early voting clerk who determines that a carrier envelope cannot be accepted because of

   SB 1’s DPS number or SSN4 requirement may return the carrier envelope to the voter by

   mail, or may hold the carrier envelope for the voter either to use the online ballot tracker to

   supply a DPS number or SSN4 that matches voter registration records, or travel to the

   appropriate county election office and cure the deficiency in person. Ingram Dep. Apr. 28,

   2022 126:9-127:5 (Ex. 79); Tex. Elec. Code § 86.011(c).

62. A signature verification committee (SVC), if established, may also review the carrier

   envelope to determine whether it may be accepted under Section 86.002 of the Texas

   Election Code because the voter has written a DPS number or SSN4 that matches voter

   registration records. Tex. Elec. Code §§ 87.027, 87.0271; Tex. Sec. of State, Election

   Advisory No. 2022-08, at 6 (Jan. 28, 2022) (STATE019849) (Ex. 2), https://perma.cc/WR2R-

   EH3B; Tex. Sec. of State, Early Voting Ballot Board and Signature Verification Committee:

   Handbook for Election Judges and Clerks 2022, at 5 (undated) (STATE001325) (Ex. 56),

   https://perma.cc/S95U-G7CB.

63. An early voting ballot board (EVBB) or signature verification committee (SVC) may accept

   a mail ballot only if a DPS number or SSN4 is provided on the carrier envelope and matches

   voter registration records exactly. Tex. Sec. of State, Training for EVBB/SVC members on

   new Ballot by Mail Procedures (Primary Focused), at 15 (Mar. 22, 2022) (STATE034515)

   (Ex. 11); Tex. Sec. of State, Early Voting Ballot Board and Signature Verification

   Committee: Handbook for Election Judges and Clerks 2022, at 14, 20 (undated)

   (STATE001325) (Ex. 56), https://perma.cc/S95U-G7CB.



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64. Under a provision of Texas law that predates SB 1, a signature verification committee (SVC)

   or early voting ballot board (EVBB) must use the signature on both the voter’s mail ballot

   application and carrier envelope to evaluate the voter’s identity: “A mail ballot may be

   accepted only if . . . neither the voter’s signature on the ballot application nor the signature on

   the carrier envelope certificate is determined to have been executed by a person other than

   the voter, unless signed by a witness.” Tex. Elec. Code § 87.041(b); Tex. Sec. of State, Early

   Voting Ballot Board and Signature Verification Committee: Handbook for Election Judges

   and Clerks 2022, at 5-7, 9, 18 (undated) (STATE001325) (Ex. 56), https://perma.cc/S95U-

   G7CB.

65. After SB 1’s enactment, Texas continues to verify a voter’s identity on mail ballot materials

   using the signature on ABBMs and carrier envelopes. If a DPS number or SSN4 provided on

   mail ballot materials matches voter registration records, however, there is a rebuttable

   presumption that the signatures on the voter’s mail ballot application and carrier envelope are

   those of the voter. Tex. Elec. Code § 87.041(d-1); Tex. Sec. of State, Corrective Action

   Process for EVBB/SVC Members, at 13 (Oct. 25, 2022) (STATE112302) (Ex. 13),

   https://perma.cc/8WB5-P3GP; Tex. Sec. of State, Early Voting Ballot Board and Signature

   Verification Committee: Handbook for Election Judges and Clerks 2022, at 38 (undated)

   (STATE001325) (Ex. 56), https://perma.cc/S95U-G7CB.

66. Section 5.12 of SB 1 created Section 87.0271 of the Texas Election Code, which governs

   actions a signature verification committee (SVC) may take to allow mail voters to correct

   defects on a carrier envelope. SB 1 Enrolled § 5.12 (Ex. 1), https://perma.cc/WK65-HT5T.

67. If a signature verification committee (SVC) or early voting ballot board (EVBB) discovers

   that the DPS number or SSN4 written by a voter is missing or incorrect, the SVC or EVBB



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   must decide by the second business day after discovering the defect whether it would be

   possible for the voter to correct the defect and return the carrier envelope before the time the

   polls close on Election Day. If correction and return are possible, the SVC or EVBB must

   return the carrier envelope to the voter by mail. Tex. Elec. Code §§ 87.0271, 87.0411.

68. If a signature verification committee (SVC) or early voting ballot board (EVBB) determines

   that there is not sufficient time for the voter to correct the defect and return the carrier

   envelope before the polls are required to close on Election Day, the SVC or EVBB may

   notify the voter by telephone or email and state that the voter may request to have the voter’s

   application to vote by mail canceled, may come to the early voting clerk’s office in person no

   later than the sixth day after Election Day to correct the defect, or may cure the defect

   through the online ballot tracker. Tex. Elec. Code §§ 86.015(c)(4); 87.0271, 87.0411; Tex.

   Sec. of State, Early Voting Ballot Board and Signature Verification Committee: Handbook

   for Election Judges and Clerks 2022, at 5-6, 20 (undated) (STATE001325) (Ex. 56),

   https://perma.cc/S95U-G7CB; Tex. Sec. of State, Election Advisory No. 2022-08, at 1, 8-9,

   11-15 (Jan. 28, 2022) (STATE019849) (Ex. 2), https://perma.cc/WR2R-EH3B.

69. A signature verification committee (SVC) is first permitted to meet and review mail ballots

   on the 20th day before Election Day. An early voting ballot board (EVBB) in a county with

   a population of 100,000 or more is first permitted to meet and review mail ballots on the 12th

   day before Election Day, and an EVBB in a county with a population under 100,000 is first

   permitted to meet on the 4th day before Election Day. Tex. Elec. Code §§ 87.027(f); Tex.

   Sec. of State, Election Advisory No. 2022-08, at 10 (Jan. 28, 2022) (STATE019849) (Ex. 2),

   https://perma.cc/WR2R-EH3B; Tex. Sec. of State, Early Voting Ballot Board and Signature




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   Verification Committee: Handbook for Election Judges and Clerks 2022, at 5, 44 (undated)

   (STATE001325) (Ex. 56), https://perma.cc/S95U-G7CB.

70. Under Texas law, a carrier envelope must be received at the address on the carrier envelope

   no later than the time the polls are required to close on Election Day in order for the ballot

   within to be timely and counted. Tex. Elec. Code § 86.007. If an early voting ballot board

   (EVBB) or signature verification committee (SVC) does not accept a mail ballot because of a

   defect on the carrier envelope, and the voter does not cure the defect, the ballot will not be

   counted. Tex. Sec. of State, Early Voting Ballot Board and Signature Verification

   Committee: Handbook for Election Judges and Clerks 2022, at 21 (undated)

   (STATE001325) (Ex. 56), https://perma.cc/S95U-G7CB.

       E.    Additional Facts Regarding Texas’s Online Ballot Tracker

71. Texas has an online ballot tracker that is designed to allow voters to correct certain

   information on a rejected ABBM or carrier envelope, available at votetexas.gov. Tex. Sec.

   of State, FAQs on Applications for Ballot by Mail (ABBMs), at 5-8 (PPT 10-16) (Jan. 18,

   2022) (STATE040586) (Ex. 5), https://perma.cc/A8Y6-YLQH; VoteTexas.gov, Track My

   Ballot and Correct ID Information (Ex. 61), https://perma.cc/H5H7-HZG7.

72. For a voter to access the online ballot tracker, the voter must enter both a DPS number and a

   SSN4 that match voter registration records, along with their residence address as listed in

   their voter registration record. Tex. Elec. Code § 86.015(b); Tex. Sec. of State, Election

   Advisory No. 2022-08, at 24 (Jan. 28, 2022) (STATE019849) (Ex. 2),

   https://perma.cc/WR2R-EH3B; Ingram Apr. 28, 2022 Dep. 120:14-24 (Ex. 72); Tex. Sec. of

   State, FAQs on Applications for Ballot by Mail (ABBMs), at 7 (PPT 14) (Jan. 18, 2022)

   (STATE040586) (Ex. 5), https://perma.cc/A8Y6-YLQH.



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73. If a voter’s registration records do not contain both a DPS number and SSN4, the voter will

   not be able to access online ballot tracker. SOS 30(b)(6) Mar. 28, 2023 Dep. 58:5-9 (Ex. 81);

   Ingram Apr. 28, 2022 Dep. 120:25-14 (Ex. 79).

74. As of January 2023, TEAM contained 457,441 records with no associated DPS number.

   Approximately 190,000 registered voters whose TEAM records do not contain a DPS

   number have in fact been issued a DPS number. Therefore, more than 250,000 registered

   voters in Texas have not been issued a DPS number. Hersh 2d Supp. Rep. app’x ¶¶ 10-16

   (Ex. 39).

75. The SOS prescribes the form and content of notices to be sent to voters whose mail ballot

   application or carrier envelope are rejected. Notice of Rejected Application for Ballot by

   Mail (Jan. 2022) (STATE031641) (Ex. 18), https://perma.cc/8RUP-SP5L; Notice of Rejected

   Application for Ballot by Mail – Missing or Incorrect Personal Identification Number (Jan.

   2022) (STATE031643) (Ex. 19), https://perma.cc/L7BB-VDQY; Notice of Rejected

   Application for Ballot by Mail – Required Personal Identification Number Is Not Associated

   with Your Voter Record (Jan. 2022) (STATE031645) (Ex. 20), https://perma.cc/2UDX-

   X75X; Notice of Carrier Defect – Carrier Envelope Returned to the Voter by Mail (Jan.

   2022) (STATE019845) (Ex. 22), https://perma.cc/W7WB-N7PA; Notice of Carrier Defect –

   Voter Notified of Carrier Envelope Defect by Phone or Email (Jan. 2022) (STATE019847)

   (Ex. 23), https://perma.cc/7G3V-2UAL.

76. Before SB 1 became effective, Texas law did not require an eligible voter applying for a

   ballot by mail or completing a carrier envelope to include a DPS number or SSN4 to request

   a mail ballot or have that ballot counted. SB Enrolled §§ 5.02, 5.07, 5.08, 5.13 (Ex. 1),

   https://perma.cc/WK65-HT5T.



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   III.    Facts Regarding Texas’s Implementation of the SB 1 Requirements Concerning
           DPS Numbers and SSN4s on Mail Voting Materials

77. The Secretary of State (SOS) is the chief election officer in the State of Texas. Tex. Elec.

   Code § 31.001(a).

78. Texas law requires the SOS to “obtain and maintain uniformity in the application, operation,

   and interpretation of [Texas Election Code] and of the election laws outside this code.” Tex.

   Elec. Code § 31.003.

79. By statute, the SOS “shall establish in the secretary’s office an elections division with an

   adequate staff to enable the secretary to perform the secretary's duties as chief election

   officer[, and] the secretary may assign to the elections division staff any function relating to

   the administration of elections that is under the secretary’s jurisdiction.” Tex. Elec. Code

   § 31.001(b).

80. The SOS has a statutory mandate to “prescribe the design and content, consistent with this

   code, of the forms necessary for the administration of this code” and the “design and content

   [of such forms] must enhance the ability of a person to understand the applicable

   requirements and to physically furnish the required information in the space provided.” Tex.

   Elec. Code § 31.002(a).

81. The SOS maintains Texas’s statewide voter registration database, known as the Texas

   Election Administration Management (TEAM) database. SOS 30(b)(6) Apr. 26, 2022 Dep.

   16:7-17:9 (Ex. 82).

82. The SOS has issued guidance to counties regarding the interpretation and implementation of

   SB 1. SOS 30(b)(6) Dep. Apr. 26, 2022 at 51:10-20 (Ex. 82).




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83. The SOS has designed and distributed official forms that implement SB 1. SOS 30(b)(6)

   Apr. 26, 2022 Dep. 51:10-20, 56:11-22, 59:14-60:5 (Ex. 82); Adkins Apr. 11, 2023 Dep.

   26:14-27:15 (Ex. 84).

84. The official forms prepared by the SOS to implement SB 1 requirements concerning DPS

   numbers and SSN4s on mail voting materials include:

       a. The official ABBM. SOS 30(b)(6) Apr. 26, 2022 Dep. 51:10-23, 56:11-22 (Ex. 82);

          Tex. Sec. of State, Election Advisory No. 2022-08, at 2 (Jan. 28, 2022)

          (STATE019849) (Ex. 2), https://perma.cc/WR2R-EH3B; Application for a Ballot by

          Mail (Dec. 9, 2021) (STATE031879) (Ex. 14), https://perma.cc/NU2Z-URBA.

       b. The official carrier envelope. Carrier Envelope for Early Voting Ballot (July 2022)

          (STATE137682) (Ex. 16), https://perma.cc/CE2L-UH94; Carrier Envelope for Early

          Voting Ballot (Dec. 2021) (STATE032017) (Ex. 15); SOS 30(b)(6) Apr. 26, 2022

          Dep. 57:17-22 (Ex. 82); Adkins Apr. 11, 2023 Dep. 26:14-23 (Ex. 84).

       c. The “signature sheet” used by members of the military, military family members, and

          overseas citizens to comply with the carrier envelope requirements. Tex. Elec. Code

          § 84.011; SOS 30(b)(6) Apr. 26, 2022 Dep. 62:10-20 (Ex. 82); Official Election

          Signature Sheet for an FPCA Voter (July 2022) (STATE113735) (Ex. 8),

          https://perma.cc/AGE5-S9NY; Official Election Signature Sheet for an FPCA Voter

          (Dec. 2021) (STATE040053) (Ex. 17).

       d. A general notice of mail ballot application rejection. Notice of Rejected Application

          for Ballot by Mail (Jan. 2022) (STATE031641) (Ex. 18), https://perma.cc/8RUP-

          SP5L.




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       e. A notice of mail ballot application rejection specific to SB 1 requirements. Notice of

           Rejected Application for Ballot by Mail – Missing or Incorrect Personal

           Identification Number (Jan. 2022) (STATE031643) (Ex. 19), https://perma.cc/L7BB-

           VDQY.

       f. A notice of mail ballot rejection for voters who do not have a DPS number or SSN4

           in voter registration records. Notice of Rejected Application for Ballot by Mail –

           Required Personal Identification Number Is Not Associated with Your Voter Record

           (Jan. 2022) (STATE031645) (Ex. 20), https://perma.cc/2UDX-X75X.

       g. Instructions for completing the carrier envelope. Ballot Envelope (for Secrecy) (Form

           5-21) (July 2022) (Ex. 27), https://perma.cc/K9CT-MB2S.

       h. A form to be used by voters to correct errors or omissions on carrier envelopes.

           Corrective Action Form for Defective Carrier Envelope (Jan. 2022) (STATE019841)

           (Ex. 60), https://perma.cc/2BMP-Z9SG.

       i. A notice of carrier envelope rejection to accompany a returned mail ballot. Notice of

           Carrier Defect – Carrier Envelope Returned to the Voter by Mail (Jan. 2022)

           (STATE019845) (Ex. 22), https://perma.cc/W7WB-N7PA.

       j. A notice of carrier envelope defect to be sent when a mail ballot is retained at an early

           voting clerk’s office. Notice of Carrier Defect – Voter Notified of Carrier Envelope

           Defect by Phone or Email (Jan. 2022) (STATE019847) (Ex. 23),

           https://perma.cc/7G3V-2UAL.

85. The SOS is empowered to issue authoritative interpretations of the Texas Election Code.

   SOS 30(b)(6) Apr. 26, 2022 Dep. 76:3-5, 88:16-89:16; 114:5-116:9 (Ex. 82).




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86. Absent contrary action by the Secretary, the Director of Elections is empowered to issue

   authoritative interpretations of the Texas Election Code on behalf of the SOS. SOS 30(b)(6)

   Apr. 26, 2022 Dep. 67:16-68:5, 76:3-5; 80:2-15, 88:16-89:16 (Ex. 82).

87. When administering elections, county election officials are bound to follow the

   interpretations of the Texas Election Code issued by the SOS, including guidance issued by

   the Director of Elections and the Elections Division. SOS 30(b)(6) Apr. 26, 2022 Dep. 74:1-

   19 (Ex. 82).

88. The SOS has instructed counties that election forms provided by their office are important

   because they work to “[a]ccomplish processes” and “help apply the law.” Tex. Sec. of State,

   Forms, Forms and More Forms, at 2-3 (undated) (STATE000643) (Ex. 84).

89. The SOS has directed county election officials to verify the DPS number or SSN4 on an

   ABBM using voter registration records. Tex. Sec. of State, Election Advisory No. 2022-08,

   at 2 (Jan. 28, 2022) (STATE019849) (Ex. 2), https://perma.cc/WR2R-EH3B; Tex. Sec. of

   State, Training for EVBB/SVC members on new Ballot by Mail Procedures (Primary

   Focused), at 4 (PPT 4) (Mar. 22, 2022) (STATE034515) (Ex. 11), https://perma.cc/JU4T-

   ZFTE.

90. The SOS has prepared written instructions regarding the implementation of SB 1, including

   directions on when county officials must accept or reject ABBMs and carrier envelopes

   based on SB 1 requirements concerning DPS numbers and SSN4s on mail voting materials.

   E.g., Tex. Sec. of State, Election Advisory No. 2022-08 (Jan. 28, 2022) (STATE019849) (Ex.

   2), https://perma.cc/WR2R-EH3B.

91. The SOS has instructed county officials regarding appropriate implementation of SB 1,

   including requirements concerning DPS numbers and SSN4s on mail voting materials, at



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    seminars and webinars. SOS 30(b)(6) Mar. 28, 2023 Dep. 34:3-15 (Ex. 81); Tex. Sec. of

    State, Training and Education and Resources (Ex. 12), https://perma.cc/P5UG-BLQZ.

    These trainings and webinars occured on at least the following occassions: 1

    a. December 21, 2021: Tex. Sec. of State, Reviewing Your ABBMs (Jan. 28, 2022)

       (STATE001667) (Ex. 25), https://perma.cc/JKU9-5XU2 (presentation),

       https://perma.cc/N7NY-FBB2 (video).

    b. January 19, 2022: Tex. Sec. of State, FAQs on Applications for Ballot by Mail (ABBMs)

       (Jan. 18, 2022) (STATE040586) (Ex. 5), https://perma.cc/A8Y6-YLQH (presentation),

       https://perma.cc/M8CV-W5CT (video).

    c. February 1, 2022: Tex. Sec. Of State, Opportunity to Correct Defects on Application for

        Ballot By Mail and Carrier Envelope (Feb. 1, 2022), https://perma.cc/72J2-G2DK

        (video only).

    d. February 7, 2022: Tex. Sec. of State, FAQs with the Elections Division (Feb. 7, 2022)

        (STATE046453) (Ex. 6), https://perma.cc/LC4P-2WCJ (presentation),

        https://perma.cc/5B5X-3F33 (video).

    e. February 8, 2022: Tex. Sec. of State, Training for EVBB/SVC Members on New Ballot

        by Mail Procedures (Primary Focused) (Mar. 22, 2022) (STATE034515) (Ex. 11),

        https://perma.cc/55FT-KN22 (presentation), https://perma.cc/7VKG-SYBT (video).




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  PDFs of presentations by the Secretary of State automatically update the date when they are
opened. Ingram Mar. 28, 2023 Dep. 65:19-66:2 (Ex. 80). Produced versions therefore do not
always reflect the date of the presentation listed on the Secretary of State’s website. Where the
dates diverge, this list of dates reflects the date listed on the Secretary of State’s website, and the
date used in the citation is the date on the face of the document, where available.
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    f. February 17, 2022: Tex. Sec. of State, FAQs with the Elections Division 2/17/2022 (Feb.

       17, 2022) (STATE001224) (Ex. 26), https://perma.cc/58CJ-UNQK (presentation),

       https://perma.cc/3VRN-5UZT (video).

    g. February 24, 2022: Tex. Sec. of State, FAQs with the Elections Division 2/24/2022 (Feb.

       24, 2022) (STATE019510) (Ex. 7), https://perma.cc/3ZES-AQFJ (presentation),

       https://perma.cc/5KTC-YPXP (video).

    h. August 2022: Tex. Sec. of State, Corrective Action Process Early Voting Clerk Actions

       (Sept. 28, 2022) (Ex. 49), https://perma.cc/JD26-8FA7 (presentation).

    i. September 20, 2022: Tex. Sec. of State, Review of ABBMs and FPCAs (Sept. 20, 2022)

       (STATE112456) (Ex. 28), https://perma.cc/N7BK-GYT2 (presentation),

       https://perma.cc/EF95-DZ4M (video).

    j. October 11, 2022: Tex. Sec. of State, Training for EVBB/SVC Members on New Ballot

       by Mail Procedures (Oct. 11, 2022) (STATE152426) (Ex. 63), https://perma.cc/TY6V-

       QQ4H (presentation), https://perma.cc/KZ2B-TQ6H (video).

    k. October 25, 2022: Tex. Sec. of State, Corrective Action Process for EVBB/SVC

       Members (Oct. 25, 2022) (STATE112302) (Ex. 13), https://perma.cc/8WB5-P3GP

       (presentation), https://perma.cc/HFB3-HE9C (video).

    l. February 21, 2023: Tex. Sec. of State, Early Voting by Mail (ABBM and FPCA) (Feb.

       21, 2023) (Ex. 30), https://perma.cc/QZ69-WCKJ (presentation), https://perma.cc/7XS9-

       QMHX (video).

92. To implement SB 1 requirements concerning DPS numbers and SSN4s on mail voting

   materials, the official ABBM prepared by the SOS states:

      YOU MUST PROVIDE ONE of the following numbers . . . Texas Driver’s License,
      Texas Personal Identification Number or Election Identification Certificate

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      Number issued by the Department of Public Safety (NOT your voter registration
      VUID#) . . . If you do not have a Texas Driver’s License, Texas Personal
      Identification Number or a Texas Election Identification Certificate Number, give
      the last 4 digits of your Social Security Number[.]

   Application for a Ballot by Mail (Dec. 9, 2021) (STATE031879) (Ex. 14),

   https://perma.cc/NU2Z-URBA.

93. To implement SB 1 requirements concerning DPS numbers and SSN4s on mail voting

   materials, the carrier envelope prepared by the SOS states:

      YOU MUST PROVIDE ONE OF THE FOLLOWING NUMBERS AND IT
      MUST BE ASSOCIATED WITH YOUR VOTER REGISTRATION
      RECORD. . . . Texas Driver’s License, Texas Personal Identification Number or
      Election Identification Certificate Number issued by the Department of Public
      Safety (NOT your Voter Registration VUID#) . . . If you do not have a Texas
      Driver’s License, Texas Personal Identification Number or a Texas Election
      Identification Certificate Number, give the last 4 digits of your Social Security
      Number[.]

   Carrier Envelope for Early Voting Ballot (July 2022) (STATE137682) (Ex. 16),

   https://perma.cc/CE2L-UH94; Carrier Envelope for Early Voting Ballot (Dec. 2021)

   (STATE032017) (Ex. 15).

94. To implement SB 1 requirements concerning DPS numbers and SSN4s on mail voting

   materials, the official signature sheet prepared by the SOS states

      REQUIRED INFORMATION: YOU MUST PROVIDE ONE OF THE
      FOLLOWING NUMBERS AND IT MUST BE ASSOCIATED WITH YOUR
      VOTER REGISTRATION RECORD . . . Texas Driver’s License, Texas Personal
      Identification Number or Election Identification Certificate Number issued by the
      Department of Public Safety (NOT your Voter Registration VUID#) . . . If you do
      not have a Texas Driver’s License, Texas Personal Identification Number or Texas
      Election Identification Certificate Number, give the last 4 digits of your Social
      Security Number[.]

   and provides the voter with space to write the requested numbers. Official Election

   Signature Sheet for an FPCA Voter (July 2022) (STATE113735) (Ex. 8),




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   https://perma.cc/AGE5-S9NY; Official Election Signature Sheet for an FPCA Voter (Dec.

   2021) (STATE040053) (Ex. 17).

95. The official ABBM, carrier envelope, and signature sheet direct voters to “provide one”

   number. None of these documents informs voters that they may or should provide both DPS

   number and SSN4. Application for a Ballot by Mail (Dec. 9, 2021) (STATE031879) (Ex.

   14), https://perma.cc/NU2Z-URBA; Carrier Envelope for Early Voting Ballot (July 2022)

   (STATE137682) (Ex. 16), https://perma.cc/CE2L-UH94; Carrier Envelope for Early Voting

   Ballot (Dec. 2021) (STATE032017) (Ex. 15); Official Election Signature Sheet for an FPCA

   Voter (July 2022) (STATE113735) (Ex. 8), https://perma.cc/AGE5-S9NY; Official Election

   Signature Sheet for an FPCA Voter (Dec. 2021) (STATE040053) (Ex. 17).

96. The SOS has directed counties to accept mail ballot materials when a voter writes an SSN4

   that matches the voter’s record in registration records, even where records include a DPS

   number. Tex. Sec. of State, Election Advisory No. 2022-08, at 3 (Jan. 28, 2022)

   (STATE019849) (Ex. 2), https://perma.cc/WR2R-EH3B (Scenario 3); Ingram Dep. Mar. 28,

   2023 at 43:3-9 (Ex. 80); Tex. Sec. of State, FAQs on Applications for Ballot by Mail

   (ABBMs), at 4 (PPT 8) (Jan. 18, 2022) (STATE040586) (Ex. 5), https://perma.cc/A8Y6-

   YLQH; Tex. Sec. of State, Review of ABBMs and FPCAs, at 14 (Sept. 20, 2022)

   (STATE112456) (Ex. 28), https://perma.cc/7K8W-LE7E.

97. The SOS has suggested that voters should provide both a DPS number and SSN4 on mail

   ballot materials if the voter is able. Ingram Dep. Mar. 28, 2023 at 30:12-23 (Ex. 80).

98. The SOS has not changed the official ABBM, carrier envelope, or signature sheet to reflect

   this guidance and has concluded that it cannot do so. Ingram Dep. Mar. 28, 2023 at 39:17-

   40:20, 51:24-52:25 (Ex. 80).



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99. Voters have expressed confusion to SOS and county officials concerning instructions on the

   official ABBM, carrier envelope, and signature sheet directing them to provide one number,

   either a DPS number or a SSN4. Email from Voter (Oct. 25, 2022) (STATE133481) (Ex.

   64); Email from Voter (Oct. 8, 2022) (STATE128049) (Ex. 65); Dallas Cnty. 30(b)(6)

   (Phillips) Apr. 13, 2023 Dep. 79:17-82:14 (Ex 85); Bexar Cnty. 30(b)(6) Feb. 28, 2023 Dep.

   110:1-21 (Ex. 87); Hidalgo Cnty. 30(b)(6) Apr. 20, 2023 Dep. 147:15-148:22 (Ex. 88).

100.   The SOS has directed that the DPS number or SSN4 on an ABBM or carrier envelope

   must be the same as the number in voter registration records; otherwise, the ABBM or carrier

   envelope must be rejected. Tex. Sec. of State, Election Advisory No. 2022-08, at 2, 6 (Jan.

   28, 2022) (STATE019849) (Ex. 2), https://perma.cc/WR2R-EH3B; Tex. Sec. of State, FAQs

   with the Elections Division, at 3 (PPT 6) (Feb. 7, 2022) (STATE046453) (Ex. 6),

   https://perma.cc/LC4P-2WCJ; Tex. Sec. of State, FAQs on Applications for Ballot by Mail

   (ABBMs), at 2 (PPT 4) (Jan. 18, 2022) (STATE040586) (Ex. 5), https://perma.cc/A8Y6-

   YLQH; Tex. Sec. of State, Early Voting Ballot Board and Signature Verification Committee:

   Handbook for Election Judges and Clerks 2022, at 5, 19 (undated) (STATE001325) (Ex. 56),

   https://perma.cc/S95U-G7CB.

101.   The SOS has directed that if a voter possesses a DPS number that is missing from voter

   registration records and writes only their DPS number (and not their SSN4) on an ABBM or

   carrier envelope, the ABBM or carrier envelope must be rejected. Tex. Sec. of State,

   Election Advisory No. 2022-08, at 3 (Jan. 28, 2022) (STATE019849) (Ex. 2),

   https://perma.cc/WR2R-EH3B (Scenario 2); Tex. Sec. of State, FAQs on Applications for

   Ballot by Mail (ABBMs), at 3 (PPT 6) (Jan. 18, 2022) (Ex. 5) (STATE040586),

   https://perma.cc/A8Y6-YLQH.



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102.   The SOS has directed that if a voter possesses a SSN4 that is missing from voter

   registration records and writes only their SSN4 (and not their DPS number) on an ABBM or

   carrier envelope, the ABBM or carrier envelope must be rejected. Tex. Sec. of State,

   Election Advisory No. 2022-08, at 2 (Jan. 28, 2022) (STATE019849) (Ex. 2),

   https://perma.cc/WR2R-EH3B.

103.   The SOS has directed that if a voter writes both a DPS number and a SSN4 on an ABBM

   or carrier envelope, and only one of those numbers is contained in voter registration records,

   the ABBM or carrier envelope may be accepted only if the number that is contained in voter

   registration records matches a number that the voter wrote on the ABBM or carrier envelope.

   Tex. Sec. of State, Election Advisory No. 2022-08, at 3 (Jan. 28, 2022) (STATE019849) (Ex.

   2), https://perma.cc/WR2R-EH3B; Tex. Sec. of State, FAQs on Applications for Ballot by

   Mail (ABBMs), at 4 (PPT 7) (Jan. 18, 2022) (STATE040586) (Ex. 5), https://perma.cc/A8Y6-

   YLQH.

104.   The SOS has directed that if a voter writes both a DPS number and a SSN4 on an ABBM

   or carrier envelope, voter registration records contain a DPS number and SSN4 for the voter,

   and one of the two numbers provided by the voter matches registration records while the

   other does not, the ABBM or carrier envelope may be accepted. Tex. Sec. of State, Election

   Advisory No. 2022-08, at 3 (Jan. 28, 2022) (STATE019849) (Ex. 2), https://perma.cc/WR2R-

   EH3B; Tex. Sec. of State, FAQs on Applications for Ballot by Mail (ABBMs), at 4 (PPT 7)

   (Jan. 18, 2022) (STATE040586) (Ex. 5), https://perma.cc/A8Y6-YLQH.

105.   When an ABBM is rejected because the voter’s record in TEAM does not contain a DPS

   number or SSN4 necessary to have the ABBM accepted, the SOS recommends the voter

   complete a new voter registration application, even though the voter is already fully qualified



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   and registered to vote, or update the voter’s information online at www.Texas.gov. Tex. Sec.

   of State, FAQs with the Elections Division, at 4 (PPT 7-8) (Feb. 7, 2022) (STATE046453)

   (Ex. 6), https://perma.cc/LC4P-2WCJ; SOS 30(b)(6) Apr. 26, 2022 Dep. 64:14-66:1-8 (Ex.

   82); Notice of Rejected Application for Ballot by Mail – Required Personal Identification

   Number Is Not Associated with Your Voter Record (Jan. 2022) (STATE031645) (Ex. 20),

   https://perma.cc/2UDX-X75X.

106.   Although the Texas Voter Registration Application may be used to submit a “Change of

   Address, Name, or Other Information,” it does not state that it may be used to provide

   information missing from voter registration records. Tex. Sec. of State, Texas Voter

   Registration Application (undated) (STATE040495) (Ex. 3), https://perma.cc/S2TZ-NTT6.

107.   The online application available at www.Texas.gov is titled “Voter Name and Address

   Changes” and explains that it is a “free service . . . offered to registered Texas voters who

   need to submit Name and/or Address changes” and that “[a]llowable updates include changes

   to your current residential address and/or your changes to your name.” The application does

   not mention providing a DPS number or SSN4 missing from voter registration records.

   Texas.gov, Voter Name and Address Changes (Ex. 62), https://perma.cc/FK9M-PCPB.

108.   The SOS has prescribed notices to be sent to a voter when the voter’s application for a

   ballot by mail (ABBM) is rejected, including separate notices for when the identification

   number written by the voter does not match the voter’s registration record (Form 6-3), and

   for when the voter’s registration record does not contain a DPS number or SSN4 (Form 6-4).

   Tex. Sec. of State, Election Advisory No. 2022-08, at 2 (Jan. 28, 2022) (STATE019849) (Ex.

   2), https://perma.cc/WR2R-EH3B; Tex. Sec. of State, Notice of Rejected Application for

   Ballot by Mail – Missing or Incorrect Personal Identification Number (Jan. 2022)



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   (STATE031643) (Ex. 19), https://perma.cc/L7BB-VDQY; Tex. Sec. of State, Notice of

   Rejected Application for Ballot by Mail – Required Personal Identification Number Is Not

   Associated with Your Voter Record (Jan. 2022) (STATE031645) (Ex. 20),

   https://perma.cc/2UDX-X75X.

   IV.      Facts Regarding County Administration of Elections

109.     County election officials are primarily responsible for administration of federal, state, and

   local elections for the voters who reside in their jurisdictions, including applying guidance

   provided by the SOS. SOS 30(b)(6) Apr. 26, 2022 Dep. 34:3-11, 74:1-19 (Ex. 82); see also,

   e.g., Bexar 30(b)(6) Feb. 28, 2023 Dep. 12:18-23 (Ex. 87).

110.     County election officials take direction from the SOS when administering SB 1

   requirements concerning DPS numbers and SSN4s on mail voting materials. Bexar 30(b)(6)

   Feb. 28, 2023 Dep. 12:18-23 (Ex. 87); Scarpello (Dallas Cnty.) May 4, 2022 Dep. 66:19-67:7

   (Ex. 89); Longoria (Harris Cnty.) Apr. 20, 2022 (Defendants’ Dep.) Dep. 31:9-21 (Ex. 90);

   Hidalgo 30(b)(6) May 10, 2022 Dep. 15:25-16:13 (Ex. 92).

111.     County officials are not free to ignore SOS instructions regarding administration of SB 1

   requirements concerning DPS numbers and SSN4s on mail voting materials, even where they

   would individually interpret the provisions differently if empowered to do so. SOS 30(b)(6)

   Apr. 26, 2022 Dep. 74:1-19 (Ex. 82).

112.     Some counties in Texas administer voter registration and mail balloting by accessing

   voter records directly in TEAM. SOS 30(b)(6) Apr. 26, 2022 Dep. 19:1-9 (Ex. 82).

113.     Other counties administer voter registration and mail balloting by accessing voter records

   in a county-specific database that communicates with TEAM each night to transmit new or

   changed voter registration between the databases. SOS 30(b)(6) Apr. 26, 2022 Dep 19:10-21



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   (Ex. 82); SOS 30(b)(6) Mar. 28, 2023 Dep. 43:13-44:17 (Ex. 81); Email from Sam Taylor to

   Taylor Goldenstein (Jan. 28, 2022) (STATE105169) (Ex. 31).

114.   Counties that administer voter registration and mail balloting through a county-specific

   database are known colloquially as “offline counties,” and a database used by an “offline

   county” is known as an “offline database.” SOS 30(b)(6) Apr. 26, 2022 Dep. 19:1-21 (Ex.

   82); Email from Sam Taylor to Taylor Goldenstein (Jan. 28, 2022) (STATE105169) (Ex. 31).

115.   Separately from the overnight processing of new and changed registrations, TEAM and

   offline databases periodically sync in an attempt to ensure the data for voters in a county’s

   system is the same as the data for those voters in TEAM. SOS 30(b)(6) Mar. 28, 2023 Dep.

   43:13-44:17, 44:24-45:5 (Ex. 81).

116.   Election officials in offline counties may also access TEAM directly. SOS 30(b)(6) Mar.

   28, 2023 Dep. 46:12-47:6 (Ex. 81); Tex. Sec. of State, FAQs with the Elections Division

   2/17/2022, at 5 (PPT 10) (Feb. 17, 2022) (STATE001224) (Ex. 26), https://perma.cc/58CJ-

   UNQK.

117.   The SOS directs officials in offline counties to use TEAM to look for any DPS number or

   SSN4 provided by a voter on an ABBM or carrier envelope if that number is not found in

   their offline database. SOS 30(b)(6) Mar. 28, 2023 Dep. 46:16-47:6 (Ex. 81); Tex. Sec. of

   State, FAQs with the Elections Division 2/17/2022, at 5 (PPT 10) (Feb. 17, 2022)

   (STATE001224) (Ex. 26), https://perma.cc/58CJ-UNQK.

118.   The SOS does not direct or advise counties to use DPS numbers or SSN4s provided by

   voters on an ABBM or carrier envelope to look up voter records in TEAM or an offline

   database. Ingram Mar. 28, 2023 Dep. 67:21-68:14, 69:3-20 (Ex. 80).




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119.   County officials do not ordinarily use DPS numbers or SSN4s provided by voters on

   ABBMs or carrier envelopes to locate records in TEAM or offline databases. Bexar Cnty.

   30(b)(6) Apr. 20, 2022 Dep. 311:19-313:7 (Ex. 93); Travis Cnty. 30(b)(6) (Johnson) Dep.

   Mar. 29, 2023 at 41:5-24 (Ex. 94).

120.   County officials typically look up voters in voter registration databases using information

   on an ABBM or carrier envelope other than a DPS number or SSN4. With respect to an

   ABBM, county officials typically use information such as the voter’s name, address, and date

   of birth to identify registration records. Dallas Cnty. 30(b)(6) (Phillips) Apr. 29, 2022 Dep

   150:22-152:11 (Ex. 95); Hidalgo Cnty. 30(b)(6) Apr. 20, 2023 Dep. 70:15-71:7 (Ex. 92);

   Bexar Cnty. 30(b)(6) Apr. 20, 2022 Dep. 311:19-313:7 (Ex. 93); Travis Cnty. 30(b)(6)

   (Johnson) March 29, 2023 Dep. 41:5-14 (Ex. 94).

121.   Carrier envelopes bear a voter-specific bar code that county officials use to identify

   registration records. Travis Cnty. 30(b)(6) (Johnson) March 29, 2023 Dep. 41:15-42:3 (Ex.

   94); Dallas Cnty. 30(b)(6) (Phillips) Apr. 29, 2022 Dep 151:25-152:11 (Ex. 95).

122.   Some county officials took substantial measures to decrease rejection rates of ABBMs

   and mail ballots in response to rises in rejection rates during the March 2022 primary

   election. El Paso Cnty. 30(b)(6) Apr. 18, 2023 Dep. 91:20-92:16 (Ex. 96); Phillips (Denton

   Cnty.) Dep 50:2-51:21 (Ex. 97); Harris Cnty. 30(b)(6) (Obakozuwa) Mar. 21, 2023 Dep.

   57:1-12 (Ex. 98); Travis Cnty. 30(b)(6) (Hayes) Mar. 29, 2023 Dep. 32:12-35:16 (Ex. 99);

   Travis Cnty. 30(b)(6) (Johnson) Dep. 52:14-19, 90:6-10 (Ex. 94); Bexar Cnty. 30(b)(6) Feb.

   28, 2023 Dep. 56:3-57:3, 64:9-15 (Ex. 87); Patrick Gen. Election Supp. Rep. ¶¶ 7, 15-16 (Ex.

   47). Their ability to implement these measures in the future requires sustained resources.

   Bexar Cnty. 30(b)(6) Feb. 28, 2023 Dep. 142:17-21 (Ex. 87).



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123.   County officials encourage voters to provide both their DPS number and SSN4 on

   ABBMs and carrier envelopes, including by using inserts in mail ballot packages sent to

   voters. Bexar Cnty. 30(b)(6) Apr. 20, 2022 Dep. 127:11-128:9 (Ex. 93); Wise (El Paso

   Cnty.) Apr. 13, 2022 Dep. 117:23-118:21 (Ex. 100); DeBeauvoir (Travis Cnty.) May 2, 2022

   Dep. 89:21-90:18 (Ex. 101); Hidalgo Cnty. 30(b)(6) Apr. 20, 2023 Dep. 68:7-69:18 (Ex. 88);

   Email from Stephanie G. Garza to Tex. Sec. of State Elections Div. (Mar. 23, 2022)

   (STATE151558) (Ex. 33); Kleberg Cnty. Insert (STATE151559) (Ex. 34); Email from Allie

   Thomas to Tex. Sec. of State Elections Div. (Sept. 20, 2022) (STATE151934) (Ex. 35).

124.   Conflict between official forms and supplemental guidance has puzzled voters and

   inhibited efforts to reduce disenfranchisement. El Paso Cnty. 30(b)(6) Apr. 18, 2023 Dep.

   93:9-95:16 (Ex. 96); Hidalgo Cnty. 30(b)(6) Apr. 20, 2023 Dep. 147:15-148:25 (Ex. 88);

   Email from Voter (Oct. 8, 2022) (STATE128049) (Ex. 65).

125.   County officials have spent, at minimum, hundreds of thousands of dollars to implement

   SB 1 requirements concerning DPS numbers and SSN4s on mail voting materials, including

   additional staffing and voter education. Bexar Cnty. 30(b)(6) Feb. 28, 2023 Dep. 116:1-

   117:17 (Ex. 87) (additional $218,000 to hire staff to process mail ballots for 2022 general

   election); Dallas Cnty. 30(b)(6) Apr. 13, 2023 Dep. 85:4-21 (Ex. 100) ($180,000 for

   education and unknown additional administrative costs); Harris Cnty. 30(b)(6) Mar. 21, 2023

   (Colvin) Dep. 59:7-60:9 (Ex. 102) (additional staffing with unknown cost); Hidalgo Cnty.

   30(b)(6) Apr. 20, 2023 Dep. 153:21-154:25 (Ex. 88) (additional materials and technology

   with unknown cost).

126.   County election officials who testified in this matter do not understand it to be possible to

   eliminate instances where qualified and eligible voters have mail ballot materials rejected as



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   a result of SB 1 requirements concerning DPS numbers and SSN4s on mail voting. Harris

   Cnty. 30(b)(6) Mar. 21, 2023 (Colvin) Dep. 68:4-11 (Ex. 102); Travis Cnty. 30(b)(6) Mar.

   29, 2023 (Johnson) Dep. 46:13-47:11 (Ex. 94); Dallas Cnty. 30(b)(6) Apr. 13, 2023

   (Scarpello) Dep. 84:22-85:3 (Ex. 100); Bexar Cnty. 30(b)(6) Feb. 28, 2023 Dep. 120:6-22

   (Ex. 87); El Paso Cnty. 30(b)(6) Apr. 18, 2023 Dep. 109:1-6. (Ex. 96).

   V.      Facts Regarding the Texas Election Administration Management (TEAM)
           Database

127.    The SOS maintains the Texas Election Administration Management (TEAM) system,

   which includes the official voter registration database for the State of Texas. SOS 30(b)(6)

   Apr. 26, 2022 Dep. 16:7-14, 16:24-17:9 (Ex. 82).

128.    TEAM should contain only one record for each registered voter in Texas. SOS 30(b)(6)

   Apr. 26, 2022 at 24:17-20, 25:4-12 (Ex. 82). Each record in TEAM is assigned a Voter

   Unique Identification Number (VUID). Hersh Rep. ¶¶ 28, 35 (Ex. 36); SOS 30(b)(6) Apr.

   26, 2022 Dep. 24:24-25:3 (Ex. 82).

129.    TEAM has the capacity to associate either zero or one DPS number with each VUID.

   This number may be associated with a driver license, personal identification card, or election

   identification certificate. Hersh Rep. ¶¶ 5(a), 19, 46, 114 (Ex. 36); Ingram Mar. 28, 2023

   Dep. 106:19-21 (Ex. 80).

130.    TEAM has the capacity to associate either zero or one Social Security Number with each

   VUID. This number may reflect a voter’s full, nine-digit Social Security Number or the last

   4 digits thereof. Hersh Rep. ¶¶ 42-45 (Ex. 36).

131.    After SB 1 was enacted, the SOS acknowledged that incomplete TEAM records may

   have “impact” on voters whose records lack a DPS number or SSN4 and who seek to cast a




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   mail ballot. Email from Sam Taylor to Ashley Lopez (Feb. 16, 2022) (STATE045837) (Ex.

   66); Email from Sam Taylor to John Scott et al. (Dec. 20, 2021) (STATE019729) (Ex. 37).

132.   After SB 1’s enactment, the SOS has periodically endeavored to determine the number of

   registered voters whose TEAM records contain (a) neither a DPS number nor an SSN4; (b) a

   DPS number but no SSN4; and (c) a SSN4 but not DPS number. Email from Sam Taylor to

   John Scott et al. (Dec. 20, 2021) (STATE019729) (Ex. 37); Email from Kristi Hart to Keith

   Ingram et al. (Dec. 23, 2022) (STATE137751) (Ex. 38).

133.   Approximately annually, the SOS attempts to import DPS numbers and Social Security

   Numbers into TEAM by matching TEAM records with an extract of databases maintained by

   DPS. SOS 30(b)(6) Apr. 26, 2022 Dep. 41:7-20, 42:2-18, 43:4-18, 44:1-23 (Ex. 82); SOS

   30(b)(6) Mar. 28, 2023 Dep. 38:5-24 (Ex. 81).

134.   The SOS conducted its first post-SB 1 database matching exercise in December 2021.

   After importing data from the DPS database extract into the TEAM database:

       a. 106,911 registered voters had neither a DPS number nor SSN4 associated with their

          TEAM records;

       b. 422,259 registered voters did not have a SSN4 associated with their TEAM records;

          and

       c. 493,823 registered voters did not have a DPS number associated with their TEAM

          records.

SOS 30(b)(6) Apr. 26, 2022 Dep. 43:4-18, 44:1-23 (Ex. 82); Email from Sam Taylor to John

Scott et al. (Dec. 20, 2021) (STATE019729) (Ex. 37).

135.   On February 28, 2022, the United States disclosed an expert report authored by Dr. Eitan

   Hersh identifying the following issues with the TEAM and DPS databases:



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       a. 2,213,676 Texas registered voters have multiple DPS numbers, at most one of which

          can be recorded in TEAM;

       b. 276,405 Texans who have been issued a DPS number do not have a DPS number

          recorded in TEAM;

       c. TEAM contained records for 68,190 individuals with an associated DPS number that

          was not the same as the DPS number listed in the individual’s records in the database

          maintained by DPS; and

       d. TEAM contained records for 44,444 individuals with an associated SSN4 that did not

          match the voter’s records in the database maintained by DPS.

   Hersh Rep. ¶¶ 5(a)-(c), 83, 112(a)-(d) (Ex. 36); Hersh 2d Supp. Rep. tbl. A (Ex. 39). In

   addition, Dr. Hersh found that TEAM contained 102,074 voter records with no associated

   DPS number or SSN4. Hersh Rep. ¶ 46, tbl.3 (Ex. 36).

136.   In February 2022, the United States disclosed computer code used by Dr. Hersh to match

   hundreds of thousands of voter records with no associated DPS number in TEAM to driver

   license database records containing the voter’s DPS number and to identify inconsistencies

   between TEAM and DPS records. Hersh Rep. ¶¶ 5(b), 55-72, 78, 83, 112(a) (Ex. 36); Email

   from Daniel Freeman to Patrick Sweeten et al. (Feb. 28, 2022) (Ex. 29).

137.   The Texas Secretary of State conducted a second database matching exercise in

   December 2022. After importing data from the DPS database extract into the TEAM

   database:

       a. 93,867 registered voters had neither a DPS number nor SSN4 associated with their

          TEAM records;




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       b. 392,084 registered voters did not have a SSN4 associated with their TEAM records;

          and

       c. 463,393 registered voters did not have a DPS number associated with their TEAM

          records.

SOS 30(b)(6) Mar. 28, 2023 Dep. 38:5-24 (Ex. 81); Email from Kristi Hart to Keith Ingram et al.

(Dec. 23, 2022) (STATE137751) (Ex. 38).

138.   As of January 3, 2023, TEAM contained 17,451,752 voter records. Hersh 2d Supp. Rep.

   tbl. A, app’x ¶¶ 4, app’x tbl.2-3 (Ex. 39).

139.   As of January 3, 2023, TEAM contained 457,441 voter records with no associated DPS

   number. Hersh 2d Supp. Rep. app’x ¶ 10, app’x tbl.5 (Ex. 39).

140.   As of January 3, 2023, TEAM contained 189,095 voter records with no associated DPS

   number for registered voters who have been issued a DPS number. Hersh 2d Supp. Rep. tbl.

   A, app’x ¶ 16 (Ex. 39).

141.   As of January 3, 2023, TEAM contained 93,208 voter records with no associated DPS

   number or SSN4. Hersh 2d Supp. app’x tbl.3 (Ex. 39).

142.   As of January 3, 2023, TEAM contained 2,394,435 voter records with only one

   associated DPS number for registered voters who have two or more DPS numbers in the

   database maintained by DPS. Hersh 2d Supp. Rep. tbl. A, app’x ¶ 22 (Ex. 39).

143.   As of January 3, 2023, TEAM contained 62,461 voter records listing a DPS number

   inconsistent with the DPS number associated with the registered voter in the driver license

   database maintained by DPS. Hersh 2d Supp. Rep ¶ 11 & tbl. A, app’x ¶ 26, 27(d) (Ex. 39).

144.   As of January 3, 2023, TEAM contained 44,353 voter records listing an SSN4

   inconsistent with the SSN4 associated with the registered voter in the driver license database



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   maintained by DPS. Hersh 2d Supp. Rep. ¶ 11 & tbl. A, app’x ¶ 27(c) (Ex. 39). In total, as

   of January 3, 2023, approximately 2.7 million out of 17.3 million registered voters in Texas

   had multiple DPS numbers, DPS numbers missing from TEAM, or discrepancies in DPS

   number or SSN4 between TEAM and the DPS database. Hersh 2d Supp. Rep. tbl. A, app’x

   ¶ 28 (Ex. 39).

145.     The information in TEAM records is subject to human error. For instance, information

   on paper voter registration applications—including any DPS number and any SSN4—must

   be entered manually into TEAM by local officials, who may inject typographical errors into

   TEAM voter records. Hart Dep. 31:11-32:10, 40:5-11 (Ex. 103); SOS 30(b)(6) Apr. 26,

   2022 Dep. 22:5-19 (Ex. 82); SOS 30(b)(6) Mar. 28, 2023 Dep. 25:6-21 (Ex. 81); Travis Cnty.

   30(b)(6) Mar. 29, 2023 (Johnson) Dep. 46:13-47:11 (Ex. 94).

146.     The SOS does not know the rate at which TEAM contains errors in individual voters’

   records. SOS 30(b)(6) Apr. 26, 2022 Dep. 33:16-23 (Ex. 82); Hart Dep. 40:5-11 (Ex. 103).

   VI.      Facts Regarding Elections Held Under SB 1

147.     A primary election for the U.S. House of Representatives, Governor of Texas, the Texas

   House and Senate, and other state and local offices was conducted on March 1, 2022. Tex.

   Sec. of State, Official Canvass Report 2022 March 1st Republican Primary (May 6, 2022)

   (Ex. 72), https://perma.cc/GA9P-XFD8; Tex. Sec. of State, Official Canvass Report 2022

   March 1st Democratic Primary (Mar. 21, 2022) (Ex. 73), https://perma.cc/9AEK-VWEY.

148.     A general election for the U.S. House of Representatives, Governor of Texas, the Texas

   House and Senate, and other state and local offices was conducted on November 8, 2022.

   Tex. Sec. of State, Official Canvas Report 2022 November 8th General Election (Feb. 1,

   2023) (Ex. 74), https://perma.cc/9NNX-PGCQ.



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149.   The State of Texas did not have sufficient information to determine a statewide ABBM

   rejection rate in the March 2022 primary election. Email from Sam Taylor to Taylor

   Goldenstein (Apr. 6, 2022) (STATE106595) (Ex. 40).

150.   Some county officials reported having elevated ABBM rejection rates during the March

   2022 primary election compared with prior elections. Bexar Cnty. 30(b)(6) Apr. 20, 2022

   Dep. 275:18-22 (Ex. 93); Dallas Cnty. 30(b)(6) (Scarpello) Apr. 29, 2022 Dep Tr. at 248:8-

   17 (Ex. 95); Hidalgo Cnty. 30(b)(6) May 10, 2022 Dep. 136:6-17 (Ex. 92); DeBeauvoir

   (Travis Cnty.) May 2, 2022 Dep. 95:3-96:14 (Ex. 101); Phillips (Denton Cnty.) Dep. 44:4-

   45:2 (Ex. 97).

151.   The State of Texas and Texas counties did not maintain sufficient information to

   determine a statewide ABBM rejection rate in the November 2022 general election. SOS

   30(b)(6) Mar. 28, 2023 Dep. 21:13-22:21 (Ex. 81).

152.   Certain Texas counties reported ABBM rejections and rejection rates in the November

   2022 general election:

   a. El Paso County reported receiving 10,380 ABBMs (excluding Federal Post Card

       Applications), and ultimately rejected 157 ABBMs because of a DPS number or SSN4

       mismatch or omission, and 81 ABBMs for any other reason. Def. Wise Objs. & Supp. &

       Am. Resps. to LUPE Pls. Am. 3d Interrogs. at 8 (Ex. 41) (Supp. & Am. Resp. to Interrog.

       No. 1).

   b. Bexar County reported receiving 39,655 ABBMs, and initially flagged 1482 for rejection,

       of which 1459 were flagged for rejection because of a DPS number or SSN4 defect.

       Bexar County finally ultimately accepted 468 ABBMs that were cured to correct a defect




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       of any kind, meaning 1014 ABBMs were ultimately rejected for any defect. Def.

       Callanen Objs. & Resps. to LULAC Pls. 3d Interrogs. (Ex. 42).

   c. Harris County reported receiving 82,276 ABBMs. Harris County initially flagged 1,556

       ABBMs for rejection because of a DPS number or SSN4 defect, and 892 for rejection

       because of any other reason. Harris County finally rejected 677 ABBMs because of a

       DPS number or SSN4 defect, and 582 for any other reason. Def. Tatum Resps. & Objs.

       To OCA Pls. 1st Interrogs. (Ex. 43).

   d. Travis County reported receiving 28,516 ABBMs. Travis County initially rejected 761

       ABBMs because of a DPS number or SSN4 defect, and 1023 for any other reason.

       Travis County finally rejected 571 ABBMs because of a DPS number or SSN4 defect,

       and 815 for any other reason. Defendant Limon-Mercado Objs. & Resps. to OCA Pls.

       1st Interrogs. at 3-4 (Ex. 44).

153.   The statewide rejection rate of mail ballots in Texas in the March 2022 primary election,

   as reported by the Texas Secretary of State, was 12.38%. Email from Keith Ingram to State

   Rep. Justin Williamson (Apr. 7, 2022) (STATE087299) (Ex. 45); Email from Sam Taylor to

   Taylor Goldenstein (Apr. 6, 2022) (STATE106595) (Ex. 40).

154.   TEAM voter history data for the March 2022 primary election include 25,429 records of

   mail ballot rejections for failure to include a DPS number or SSN4 matching voter

   registration records. Hersh Supp. Rep. ¶ 59 (Ex. 55). These rejections constitute 82% of the

   recorded mail ballot rejections for the March 2022 primary election. Id.

155.   9,420 mail ballots were rejected in Texas in the May 7, 2022 constitutional amendment

   election, as reported by the Texas Secretary of State, yielding an overall rejection rate of




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   “just over 5%.” Christian Aleman, Mail-in Ballot Rejections Decreased in Texas in the May

   Elections, KVUE, July 8, 2022 (Ex. 46), https://perma.cc/Y3ST-9D9Q.

156.   7,244 mail ballots were rejected in Texas in the May 24, 2022 primary runoff election, as

   reported by the Texas Secretary of State, yielding an overall rejection rate of “less than 4%.”

   Christian Aleman, Mail-in Ballot Rejections Decreased in Texas in the May Elections,

   KVUE, July 8, 2022 (Ex. 46), https://perma.cc/Y3ST-9D9Q.

157.   The statewide rejection rate of mail ballots in Texas in the November 2022 general

   election, as reported by the Texas Secretary of State, was 2.7%. SOS 30(b)(6) Mar. 28, 2023

   Dep. 22:23-23:1 (Ex. 81).

158.   The statewide rate of initial rejection of mail ballots in Texas in the November 2022

   general election was approximately 4.1%. Hersh 2d Supp. Rep. ¶ 12(a) (Ex. 39). More than

   half of voters who had mail ballots rejected neither cured the mail ballot nor cancelled the

   mail ballot and voted in person. Hersh 2d Supp. Rep. ¶ 12(c), 21, 28 (Ex. 39).

159.   The national average mail ballot rejection rate historically is approximately one percent.

   Patrick Gen. Election Supp. Rep. ¶ 5 & n.3 (Ex. 47).

160.   The 2.7% final mail ballot rejection rate in Texas in the November 2022 general election

   was nearly three times the historical national average and well above the 1.7% rejection rate

   in Texas during the November 2018 general election, the most recent prior midterm election.

   Patrick Gen. Election Supp. Rep. ¶¶ 5-6, 9, 17 (Ex. 47).

161.   TEAM voter history data for the November 2022 general election include 11,430 records

   of mail ballot rejections for failure to include a DPS number or SSN4 matching voter

   registration records. Hersh 2d Supp. Rep. ¶ 19 (Ex. 39). These rejections constitute 83.8%

   of the recorded mail ballot rejections for the November 2022 general election. Id.



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162.   The SOS reported that 163 mail ballots were rejected in the November 2022 general

   election because the voter did not have a DPS number or SSN4 associated with their voter

   registration record in TEAM. SOS 30(b)(6) Mar. 28, 2023 Dep. 23:2-13 (Ex. 81).

163.   In the November 2022 general election, five individuals who successfully submitted a

   Federal Post Card Application (FPCA) had ballots rejected because of SB 1 requirements

   concerning DPS numbers and SSN4s on mail voting materials. Hersh 2d Supp. Rep. ¶ 12(b)

   (Ex. 39).

164.   In the November 2022 general election, 6.4% of mail ballots returned by voters who (a)

   have been issued multiple DPS numbers, (b) whose DPS numbers are missing from TEAM,

   or (c) whose TEAM records and DPS database records have DPS number or SSN4

   discrepancies (“at-risk voters”), were rejected for failure to meet SB 1 requirements

   concerning DPS numbers and SSN4s on mail voting materials. Hersh 2d Supp. Rep.

   Addendum ¶ 13 (Ex. 57); Hersh 2d Supp. Rep. ¶ 4(a)-(c) (defining “at-risk” voters) (Ex. 39).

165.   In the November 2022 general election, 2.8% of mail ballots returned by voters who are

   not “at-risk voters,” see supra ¶ 164, were rejected for failure to meet SB 1 requirements

   concerning DPS numbers and SSN4s on mail voting materials. Hersh 2d Supp. Rep.

   Addendum ¶ 13 (Ex. 57).

166.   The difference in mail ballot rejection rates in the November 2022 general election for

   “at-risk voters,” see supra ¶ 164, and all other voters for failure to meet SB 1 requirements

   concerning DPS numbers and SSN4s on mail voting materials is statistically significant at

   the p < .0001 level. Hersh 2d Supp. Rep. Addendum ¶ 13 (Ex. 57).




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167.   In the November 2022 general election, 22.4% of “at-risk voters,” see supra ¶ 164, who

   successfully requested a mail ballot did not ultimately cast a mail ballot that was counted.

   Hersh 2d Supp. Rep. ¶ 27 (Ex. 39).

168.   In the November 2022 general election, approximately 16.2% of voters who are not “at-

   risk voters,” see supra ¶ 164, and who successfully requested a mail ballot did not ultimately

   cast a mail ballot that was counted. Hersh 2d Supp. Rep. ¶ 27 (Ex. 39).

169.   The difference in successful mail voting rates for “at-risk voters,” see supra ¶ 164, who

   successfully requested a mail ballot and all other voters who successfully requested a mail

   ballot is statistically significant at the p < .0001 level. Hersh 2d Supp. Rep. ¶ 27 (Ex. 39).

170.   The SOS has received requests for assistance concerning voters whose registration

   records lacked the voter’s DPS number and who had mail ballot materials rejected for failure

   to include a DPS number or SSN4 matching voter registration records. Email from Voter

   (Oct. 31, 2022) (STATE118514) (Ex. 67); Email from Voter (Oct. 24, 2022)

   (STATE133481) (Ex. 64).

171.   The SOS has received requests for assistance concerning voters whose registration

   records lacked the DPS number on their most recently issued identification and who had mail

   ballot materials rejected for failure to include a DPS number or SSN4 matching voter

   registration records. Email from Voter (May 9, 2022) (STATE134407) (Ex. 68); Email from

   Voter (Apr. 11, 2022) (STATE133375) (Ex. 69); Email from Voter (Mar. 28, 2022)

   (STATE122468) (Ex. 70).

172.   The SOS has received requests for assistance concerning at least one voter whose

   registration records contained a typo and who had mail ballot materials rejected for failure to




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   include a DPS number or SSN4 matching voter registration records. Email from Voter (Feb.

   17, 2022) (STATE122242) (Ex. 71).

173.   Since 2004, the U.S. Election Assistance Commission has conducted the Election

   Administration and Voting Survey (EAVS) following each federal general election. U.S.

   Elec. Assistance Comm’n, A Guide to the Election Administration and Voting Survey at 2

   (July 20, 2022) (Ex. 75), https://perma.cc/HC5M-HBDK.

174.   After a state submits its data for the Election Administration and Voting Survey (EAVS)

   to the Election Assistance Commission, the state’s chief election officer is asked to “certify

   in writing that the information being presented to the EAC is true and accurate to the best of

   their knowledge and that their state’s EAVS submission is complete.” U.S. Elec. Assistance

   Comm’n, A Guide to the Election Administration and Voting Survey at 8 (July 20, 2022) (Ex.

   75), https://perma.cc/HC5M-HBDK.

175.   For the November 2020 general election, the SOS reported to the Election Assistance

   Commission—as part of the nationwide Election Administration and Voting Survey—that

   the statewide rejection rate of mail ballots in Texas was 0.8%. Patrick Gen. Election Supp.

   Rep. ¶ 9 (Ex. 47); U.S. Elec. Assistance Comm’n, EAVS Survey 2020 Comprehensive Report,

   at 36 (2021) (Ex. 76), https://perma.cc/3SL4-ZUBK.

176.   Records in Texas’ statewide TEAM database indicate that Texas’s mail ballot rejection

   rate for the November 2020 general election was approximately 0.2%. Out of 1,030,264 mail

   ballots received by counties for that election according to the records in TEAM, 2,079 were

   rejected. Email from Sam Taylor to Jeremy Wallace (Nov. 30, 2021) (STATE105420) (Ex.

   48).




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177.   For the November 2018 general election, Texas’s mail ballot rejection rate was

   approximately 1.7%. Patrick Gen. Election Supp. Rep. ¶ 9 (Ex. 47); U.S. Elec. Assistance

   Comm’n, EAVS Survey 2018 Comprehensive Report, at 30 (2019) (Ex. 77),

   https://perma.cc/9UG7-JXMZ.

178.   For the November 2016 general election, Texas’s mail ballot rejection rate was 1.57%.

   U.S. Elec. Assistance Comm’n, EAVS Survey 2016 Comprehensive Report, at 24 (2017)

   (Ex. 78), https://perma.cc/WLL2-LM55.

179.   The Acting Director of Elections at the Texas Secretary of State’s office, Ms. Christina

   Adkins, testified that rejection rates of mail ballot materials may not decline from the

   rejection rates for the November 2022 general election. Adkins Apr. 11, 2023 Dep. 66:11-

   67:3 (Ex. 84).

180.   Pamiel (“Pam”) Gaskin is a 75-year-old Texas resident who has been registered to vote in

   Fort Bend County for over 46 years. Gaskin June 29, 2022 Dep. 18:25-20:14 (Ex. 104).

181.   Ms. Gaskin had her ABBM rejected before the March 2022 primary election after she

   followed instructions on the form and submitted only her Texas Driver License number,

   which she later learned was not in the voter registration database. Gaskin June 29, 2022 Dep.

   20:22-24:03 (Ex. 104).

182.   Roberto Benavides is a 76-year-old Texas resident and a registered voter in Travis

   County. Benavides Dep Tr. 10:9-11, 51:1-6 (Ex. 105).

183.   During the November 2022 general election, Mr. Benavides attempted to respond to a

   notice of mail ballot rejection, but his efforts to cure were unsuccessful and his vote went

   uncounted. Benavides Dep Tr. 23:14-22, 26:8-27:6 (Ex. 105).




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184.   Mr. Benavides did not receive notice that his ballot was not counted. Rather, he only

   ascertained what had happened after several calls to local election officials, who eventually

   informed him that voter registration records mistakenly indicated that his driver license

   ended in a five rather than a four. Benavides Dep Tr. 26:21-27:24 (Ex. 105).

185.   Mr. Benavides did not consider voting in person after attempting to cure his ballot

   because he was not aware there was a problem he needed to address. Benavides Dep Tr. at

   45:9-13, 43:10-17 (Ex. 105). Even if Mr. Benavides had known of the issue, curing in

   person would have been extremely burdensome because it would have forced him to leave

   his wife, who was in hospice from September 2023 until her death on October 16, 2023.

   Benavides Dep Tr. at 42:22-45:13 (Ex. 105). During that time, Mr. Benavides avoided

   leaving his house even for short errands because he was serving as his wife’s primary support

   and caretaker. Benavides Dep Tr. at 45:16-46:15 (Ex. 105).

186.   County election officials reported dealing with voter confusion and frustration, including

   cases of voters discarding carrier envelopes rejected and returned for failure to meet SB 1

   requirements, rather than taking additional steps to overcome the rejection. El Paso Cnty.

   30(b)(6) Apr. 18, 2023 Dep. 120:23-121:14 (discarded ballots), 89:12-17; 90:15-91:1 (Ex.

   96); Dallas Cnty. 30(b)(6) Apr. 13, 2023 (Phillips) Dep. 101:12-21 (Ex. 85); Bexar Cnty.

   30(b)(6) April 20, 2022 Dep. 216:12-217:25, 278:23-25 (Ex. 93); Travis Cnty. 30(b)(6)

   (Johnson) March 29, 2023 Dep. 40:24-41:4 (Ex. 94).

187.   The SOS has not publicly identified any cases of potential voter fraud that have been

   referred to law enforcement based on an individual writing an incorrect DPS number or

   SSN4 or omitting that information from mail voting materials since SB 1’s effective date.

   SOS 30(b)(6) Mar. 28, 2023 Dep. 65:20-66:2 (Ex. 81).



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188.   The SOS has stated a mismatched or missing DPS number or SSN4 is not a factor

   considered when determining whether to refer a mail ballot to the Texas Attorney General as

   potentially fraudulent. SOS 30(b)(6) Mar. 28, 2023 Dep. 65:20-66:2 (Ex. 81).

189.   The SOS does not consider a missing or incorrect DPS number or SSN4 on mail ballot

   materials to be potentially indicative of voter fraud. Ingram Apr. 28, 2022 Dep. 88:23-89:14

   (Ex. 79); SOS 30(b)(6) Mar. 28, 2023 at 65:20-66:2 (Ex. 81).

190.   County election officials testified in this case that they have not referred any individuals

   to law enforcement for investigation or prosecution for voter fraud based on the individual

   making an error or omission in writing an identification number on mail ballot materials, and

   no evidence of such referrals has been disclosed in this case. Hidalgo Cnty. 30(b)(6) Apr. 20,

   2023 Dep. 157:3-16 (Ex. 88); Phillips Dep. 39:9-13 (Denton Cnty.) (Ex. 97); Bexar Cnty.

   30(b)(6) Feb. 28, 2023 Dep. 128:13-129:8 (Ex. 87); Travis Cnty. 30(b)(6) Mar. 29, 2023

   (Johnson) Dep. 48:19-49:8 (Ex. 94); Harris Cnty. 30(b)(6) Mar. 21, 2023 (Colvin) Dep.

   69:19-22 (Ex. 102); Dallas Cnty. 30(b)(6) Apr. 13, 2023 (Scarpello) Dep. 87:25-88:5 (Ex.

   86); El Paso Cnty. 30(b)(6) Apr. 18, 2023 Dep. 76:20-80:7, 109:7-14 (Ex. 96).

191.   County election officials testified in this case that they do not consider a missing or

   incorrect DPS number or SSN4 on mail voting materials to be potentially indicative of voter

   fraud, and no evidence of county election officials treating such errors or omissions as

   evidence of fraud has been disclosed in this case. Hidalgo Cnty. 30(b)(6) Apr. 20, 2023 Dep.

   157:11-16 (Ex. 88); Bexar Cnty. 30(b)(6) Feb. 28, 2023 Dep. 128:18-129:8 (Ex. 87); El Paso

   Cnty. 30(b)(6) Apr. 18, 2023 Dep. 111:1-17 (Ex. 96).

192.   The Office of the Texas Attorney General (OAG) had investigatory tools that allowed it

   to detect and prosecute mail ballot fraud prior to the effective date of SB 1, and OAG can and



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   will rely on these same tools in future mail ballot fraud investigations and

   prosecutions. White Apr. 27, 2022 Dep. 89:9-90:6, 92:11-21, 94:20-96:2 (Ex. 106).

193.   The State of Texas is aware of one instance since 2004 where an individual was

   convicted of voting by impersonation using a mail ballot. State Defs’. Supp. Obj. & Resps.

   to U.S. 2d Interrogs. at 9-10 (Ex. 50) (Resp. & Supp. Resp to Interrog. No. 5).

194.   Vote harvesting often occurs in the presence of voters, such that the harvester can ask the

   voter to provide a DPS number or SSN4. Other kinds of efforts to perpetrate mail voting

   crimes without the voter’s knowledge or consent are more easily detected and will often be

   reported. White Apr. 27, 2022 Dep. 88:5-14, 88:24-89:3, 216:2-217:17 (Ex. 106).

   VII.   Additional Facts About Mail Voting in Texas

195.   Individuals who were qualified to vote under Texas law and eligible to vote by mail

   under Texas law have had ABBMs rejected after SB 1 came into effect because they did not

   write a DPS number or SSN4 on their ABBM that matched the information in voter

   registration databases. Tex. Sec. of State, Election Advisory No. 2022-08, at 1-2 (Jan. 28,

   2022) (STATE019849) (Ex. 2), https://perma.cc/WR2R-EH3B; SOS 30(b)(6) Apr. 26, 2022

   Dep. 64:16-66:8 (Ex. 82); Gaskin Dep. 20:22-24:03 (Ex. 104); State Defs’. Supp. Objs. &

   Resps. to U.S. 2d Interrogs. at 11-12 (Ex. 50) (Resp. & Supp. Resp. to Interrog. No. 7)

   (describing use of online portal to cure ABBMs); Email from Voter (Mar. 9, 2022)

   (STATE140711) (Ex. 51).

196.   Individuals who were qualified to vote under Texas law and eligible to vote by mail

   under Texas law have had a mail ballot rejected after SB 1 came into effect because they did

   not write a DPS number or SSN4 on their carrier envelope that matched the information in

   voter registration databases. Tex. Sec. of State, Election Advisory No. 2022-08, at 1-2 (Jan.

   28, 2022) (STATE019849) (Ex. 2), https://perma.cc/WR2R-EH3B; Benavides Dep Tr.
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   23:14-22, 26:8-27:6 (Ex. 105); State Defs’. Supp. Objs. & Resps. to U.S. 2d Interrogs. at 12-

   14 (Ex. 50) (Resp. & Supp. Resp. to Interrog. No. 8) (describing use of online portal to cure

   carrier envelopes).

197.   Absent a change in the law or injunction against enforcement of the relevant provisions

   of the Texas Election Code, individuals who are qualified to vote under Texas law and

   eligible to vote by mail under Texas law will have an ABBM rejected in future elections if

   they do not write a DPS number or SSN4 on their ABBM that matches the information in

   voter registration databases. SB 1 Enrolled (Ex. 1), https://perma.cc/WK65-HT5T; Tex. Sec.

   of State, Election Advisory No. 2022-08, at 1-2 (Jan. 28, 2022) (STATE019849) (Ex. 2),

   https://perma.cc/WR2R-EH3B.

198.   Absent a change in the law or injunction against enforcement of the relevant provisions

   of the Texas Election Code, individuals who are qualified to vote under Texas law and

   eligible to vote by mail under Texas law will have a mail ballot rejected in future elections if

   they do not write a DPS number or SSN4 on their carrier envelope that matches the

   information in voter registration databases. SB 1 Enrolled (Ex. 1), https://perma.cc/WK65-

   HT5T; Tex. Sec. of State, Election Advisory No. 2022-08, at 1-2 (Jan. 28, 2022)

   (STATE019849) (Ex. 2), https://perma.cc/WR2R-EH3B.

199.   Some voters—such as homebound voters or disabled voters with substantially limited

   mobility, elderly voters or individuals in care facilities, military voters, and Texas voters

   residing abroad or temporarily away from their home counties—rely on the availability of

   mail balloting to be able to vote at all. Wiedmann Decl. ¶ 7 (Ex. 52); El Paso 30(b)(6) Apr.

   18, 2023 Dep. 139:20-140:1 (Ex. 96); Phillips (Denton Cnty.) Dep. 94:17-23 (Ex. 97);

   Benavides Dep. 13:5-19, 15:9-18 (Ex. 105); Kruse Rep. ¶ 68 (Ex. 53).



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200.   The deadline to submit an ABBM and the deadline to cure an ABBM are the same day:

   the eleventh day before Election Day. Tex. Elec. Code §§ 84.007(c), 86.001(f)-(f-2); Tex.

   Sec. of State, Election Advisory No. 2022-08, at 3 (Jan. 28, 2022) (STATE019849) (Ex. 2),

   https://perma.cc/WR2R-EH3B.

201.   Many voters tend to submit an ABBM near the deadline. Hersh Supp. Rep. ¶¶ 66, 68

   (Ex. 55).

202.   Some voters who submit an ABBM near or on the deadline to submit such an application

   for a given election will not receive notice of a rejection with sufficient time to cure and

   receive a mail ballot. Bexar Cnty. 30(b)(6) Apr. 20, 2022 Dep. 215:7-12 (Ex. 93); Longoria

   (Harris Cnty.) (Plaintiffs’ Dep. Vol. I) Apr. 20, 2022 Dep. 41:13-42:17 (Ex. 91); Hersh Supp.

   Rep. ¶ 57 (Ex. 55).

203.   The deadline to cure a carrier envelope differs depending on whether the envelope has

   been returned to the voter. If the envelope has been returned, the voter must cure the defect

   and return the ballot to the early voting clerk before the polls are required to close on

   Election Day. If the early voting clerk has held the carrier envelope, the voter must cure the

   defect by the sixth day after Election Day. Tex. Sec. of State, Corrective Action Process for

   EVBB/SVC Members, at 17 (Oct. 25, 2022) (STATE112302) (Ex. 13); Tex. Elec. Code

   §§ 82.001-.004, 87.0271(c), 87.0411(c), 105.001-.004.

204.   Some voters who submit a mail ballot that is received on or just before the receipt

   deadline on Election Day will not receive notice of a rejection with sufficient time to cure

   and have their mail ballot counted. Phillips (Denton Cnty.) Dep. 70:22-71:3 (Ex. 97); Tex.

   Sec. of State, Election Advisory No. 2022-08, at 9 (Jan. 28, 2022) (STATE019849)

   (acknowledging that mail delivery of a defective carrier envelope may take up to ten business



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   days) (Ex. 2); Email from Tex. Sec. of State Elections Div. to Voter (Nov. 14, 2022)

   (STATE122690) (Ex. 54) (voter emails two days after Election Day about receipt of rejection

   notice, and Secretary of State responds four days later); Hersh Supp. Rep. ¶ 57 (Ex. 55).

205.   Many voters tend to submit mail ballots near the deadline, Hersh Supp. Rep. ¶¶ 57, 67-

   68 (Ex. 55).

206.   Forms of cure that require a voter to appear in person at a county election office will be

   inaccessible to some voters, such as elderly voters residing in care facilities, homebound

   voters, disabled voters with limited mobility, members of the military, military family

   members, and overseas citizens. Wiedmann Decl. ¶ 11 (Ex. 52); Phillips (Denton Cnty.)

   Dep. 94:17-95:3 (Ex. 97); Benavides Dep. 13:5-19 (Ex. 105); Kruse Rep. ¶ 68 (Ex. 53).

207.   Members of the military, military family members, and overseas citizens may cure their

   ID number defect by providing a new signature sheet by email, fax, personal delivery, or

   mail. Official Election Signature Sheet for an FPCA Voter (July 2022) (STATE113735) (Ex.

   8), https://perma.cc/K4YJ-L4Z8; Tex. Sec. of State, Election Advisory No. 2022-08, at 16

   (Jan. 28, 2022) (STATE019849) (Ex. 2), https://perma.cc/WR2R-EH3B.

208.   Many members of the military, military family members, and overseas citizens lack

   access to reliable internet and postal delivery, which makes curing their ballot defects much

   more burdensome, and in some cases, impossible. Wiedmann Decl. ¶ 14 (Ex. 52). The

   increase in the required amount of interactions with the county officials therefore adversely

   impacts military and overseas voters. Wiedmann Decl. ¶ 14 (Ex. 52).

209.   Although a mail ballot application may be cancelled and the voter, if able, may vote in

   person, cancellation of a mail ballot application is not considered a form of curing the mail

   ballot. SOS 30(b)(6) Mar. 28, 2023 at 18:2-15 (Ex. 81).



                                                52
